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               EXHIBIT 1
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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                  Description                                              Purpose               Sponsoring Witness(es)
   PTX-0001         WA-NSO-00017162             Woog Ex. 1002         Country-by-country overview chart of key targets of the May 2019 exploit      Compensatory Damages;       Woog, Carl
                                                 Lee Ex. 1002         identified by Citizen Lab.                                                    Punitive Damages
                                                Glick Ex. 1002
                                               Gautam Ex. 1002
   PTX-0002         WA-NSO-00017582             Woog Ex. 1003         Spreadsheet of target device data relating to the May 2019 exploit.           Compensatory Damages;       Woog, Carl
                                                Glick Ex. 1003                                                                                      Punitive Damages
                                               Gautam Ex. 1003
                                                Woog Ex. 1054
                                               Gautam Ex. 1054
   PTX-0003         WA-NSO-00124700            Gautam Ex. 1048        Email from C. Gheorghe to B. Damp, et al. regarding, "SEV Victim Review" Compensatory Damages;            Gheorghe, Claudiu
                                                                      dated May 9, 2019.                                                                Punitive Damages
   PTX-0004         WA-NSO-00064515             Woog Ex. 1050         Email from S. Heary to J. Railton, et al. regarding, "A/C - Priv - Classification Compensatory Damages;   Woog, Carl
                                                Gautam Ex. 1050       of Users for Outreach by Citizen Lab" (w/attachment: COUNTRY BRIEFS - Punitive Damages
                                                                      CITIZEN LAB - TLP AMBER - Links work(1).pdf) dated Aug 1, 2019.

   PTX-0005         WA-NSO-00064772             Woog Ex. 1051         Email from S. Heary to J. Railton, et al. regarding, "A/C - Priv - Classification Compensatory Damages;   Woog, Carl
                                                Gautam Ex. 1051       of Users for Outreach by Citizen Lab" dated Aug 8, 2019.                          Punitive Damages
   PTX-0006                                                           INTENTIONALLY OMITTED
   PTX-0007                                                           INTENTIONALLY OMITTED
   PTX-0008                                                           INTENTIONALLY OMITTED
   PTX-0009         WA-NSO-00125122             Woog Ex. 1083         Presentation titled, "Technical analysis of the WhatsApp 0-click exploit" dated Compensatory Damages;     Gheorghe, Claudiu;
                                               Gheorghe Ex. 1083      Oct, 2019.                                                                        Punitive Damages        Robinson, Drew;
                                                Palau Ex. 1083                                                                                                                  Woog, Carl
                                                Wang Ex. 1083




   PTX-0010         WA-NSO-00164559             Woog Ex. 1092         Document titled, "SEV 2 S178165: Stanzaming - WhatsApp VoIP stanza            Compensatory Damages;       Gheorghe, Claudiu;
                                               Gheorghe Ex. 1167      RCE affecting client" dated May 3, 2019.                                      Punitive Damages            Robinson, Drew;
                                                Palau Ex. 1167                                                                                                                  Woog, Carl
                                               Robinson Ex. 1167
                                                Wang Ex. 1167
   PTX-0011                                                           INTENTIONALLY OMITTED
   PTX-0012         WA-NSO-00164934             Woog Ex. 1095         Workplace Chat messages between C. Woog and Y. Wang dated May 5,              Compensatory Damages;       Woog, Carl
                                                Wang Ex. 1303         2019.                                                                         Punitive Damages
   PTX-0013         WA-NSO-00017583            Gheorghe Ex. 1105      Task No. T34775320, "[Follow-up] Server to validate call stanzas as defined   Punitive Damages            Gheorghe, Claudiu
                                                Palau Ex. 1105        in the protocol" dated Oct 4, 2018.
                                                Wang Ex. 1105
   PTX-0014         WA-NSO-00121258            Gheorghe Ex. 1148      Document titled, "Technical Analysis of WhatsApp Zero-Click Exploit" dated Compensatory Damages;          Gheorghe, Claudiu;
                                                Palau Ex. 1148        Oct 2019.                                                                  Punitive Damages               Robinson, Drew;
                                                Wang Ex. 1148                                                                                                                   Woog, Carl
   PTX-0015         WA-NSO-00018457             Wang Ex. 1160         Document titled, "Task No. T43510580 Potential whatsapp remote exploit in Compensatory Damages;           Gheorghe, Claudiu;
                                                                      the wild" dated Apr 2019.                                                 Punitive Damages                Robinson, Drew;
                                                                                                                                                                                Woog, Carl
   PTX-0016                                                           INTENTIONALLY OMITTED
   PTX-0017         WA-NSO-00166474            Robinson Ex. 1204      Document titled, "Stanzaming - timeline."                                     Compensatory Damages;       Gheorghe, Claudiu;
                                                Wang Ex. 1204                                                                                       Punitive Damages            Robinson, Drew
   PTX-0018         WA-NSO-00166499            Robinson Ex. 1205      Document titled, "Appendix to S178165 - Understanding the Exploit."           Compensatory Damages;       Gheorghe, Claudiu;
                                                                                                                                                    Punitive Damages            Robinson, Drew
   PTX-0019         WA-NSO-00192007            Robinson Ex. 1207      Document titled, "Infrastructure Related to Exploit Targeting WA VOIP         Compensatory Damages;       Gheorghe, Claudiu;
                                                                      Vulnerability."                                                               Punitive Damages            Robinson, Drew
   PTX-0020         WA-NSO-00192740            Robinson Ex. 1208      Document titled, "S178165 - Scope affected users."                            Compensatory Damages;       Gheorghe, Claudiu;
                                                                                                                                                    Punitive Damages            Robinson, Drew




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   PTX-0021                WA-NSO-00191373             Wang Ex. 1301         Document titled, "S178165 - iPhone variant hunting."                         Compensatory Damages;   Gheorghe, Claudiu;
                                                                                                                                                          Punitive Damages        Robinson, Drew
   PTX-0022                WA-NSO-00166495             Wang Ex. 1306         Document titled, "WA S178165 status tracking."                               Compensatory Damages;   Gheorghe, Claudiu;
                                                                                                                                                          Punitive Damages        Robinson, Drew
   PTX-0023                                                                  INTENTIONALLY OMITTED
   PTX-0024           SHANER_WHATSAPP_00001416         Shaner Ex. 1403       Screenshot titled "Installation - New Installation" by +5511972862556 to a   Punitive Damages        Shaner, Joshua
                                                                             WhatsApp group chat including J. Shaner (see PXT-0461) dated Apr 15,
                                                                             2019.
   PTX-0025                                                                  INTENTIONALLY OMITTED
   PTX-0026                                                                  INTENTIONALLY OMITTED
   PTX-0027                WA-NSO-00167777            Robinson Ex. 1515      Document titled, "S178165 - Data breach analysis and extended risk."         Compensatory Damages;   Gheorghe, Claudiu;
                                                                                                                                                          Punitive Damages        Robinson, Drew
   PTX-0028                                           Robinson Ex. 1517      Testimonial aid from deposition of D. Robinson dated Sep 19, 2024.           Compensatory Damages    Robinson, Drew
   PTX-0029                                                                  INTENTIONALLY OMITTED
   PTX-0030                                                                  INTENTIONALLY OMITTED
   PTX-0031                                            Eshkar Ex. 2004       Signed agreement between Infraloks Development Limited and the National Punitive Damages             Eshkar, Ramon;
                                                        Gil Ex. 2004         Communication Authority of the Republic of Ghana (Dkt. No. 1-1) dated Dec                            Gil, Sarit Bizinsky
                                                    Pinsonneault Ex. 2004    17, 2015.
   PTX-0032            NSO_WHATSAPP_00000179           Eshkar Ex. 2005       Signed agreement between Q Cyber Technologies SARL and redacted party Punitive Damages               Eshkar, Ramon;
                                                        Gil Ex. 2005         dated Nov 11, 2018.                                                                                  Gil, Sarit Bizinsky
                                                    Pinsonneault Ex. 2005
   PTX-0033                 FPM-00010836               Eshkar Ex. 2006       Agreement of Appointment of Reseller between NSO Group Technologies          Punitive Damages        Eshkar, Ramon;
                                                       Shohat Ex. 2006       Ltd. and Zucu Limited dated Jun 5, 2013.                                                             Shohat, Yaron
                                                    Pinsonneault Ex. 2006
   PTX-0034           SHANER_WHATSAPP_00001098         Eshkar Ex. 2007       WhatsApp messages between J. Shaner and E. Shachar, et al. (with certified   Punitive Damages        Eshkar, Ramon;
                                                      Gazneli Ex. 2007       translation from Hebrew to English) dated Dec 5, 2018.                                               Gazneli, Tamir;
                                                       Shaner Ex. 2055                                                                                                            Shaner, Joshua

   PTX-0035         DIVITTORIO_WHATSAPP_00000005      Eshkar Ex. 2008        WhatsApp messages between T. DiVittorio and T. Timor dated May 12, 2019. Punitive Damages            DiVittorio, Terrence;
                                                     DiVittorio Ex. 2086                                                                                                          Eshkar, Ramon
   PTX-0036            NSO_WHATSAPP_00000176          Eshkar Ex. 2009        NSO Group document titled, "Structure Chart as of December 31, 2019."        Background; Punitive    Eshkar, Ramon;
                                                      Shohat Ex. 2009                                                                                     Damages                 Shohat, Yaron;
                                                     DiVittorio Ex. 2009                                                                                                          DiVittorio, Terrence
   PTX-0037                                           Eshkar Ex. 2010        Document titled, "Pegasus - Product Description" (Dkt. No. 1-1).             Punitive Damages        Eshkar, Ramon
   PTX-0038         WESTBRIDGE_WHATSAPP_00003027      Eshkar Ex. 2011        NSO Group document titled, "Pegasus User Manual 2.19" dated Apr 24,          Punitive Damages        Eshkar, Ramon;
                                                                             2016.                                                                                                Shaner, Joshua
   PTX-0039            NSO_WHATSAPP_00000085           Eshkar Ex. 2012       NSO Group document titled, "Mobile EP Solution, Product Highlights" dated    Punitive Damages        Eshkar, Ramon
                                                                             Oct 11, 2023.
   PTX-0040         DIVITTORIO_WHATSAPP_00000006       Eshkar Ex. 2013       WhatsApp messages between T. DiVittorio and T. Timor dated Mar 5, 2019.      Punitive Damages        DiVittorio, Terrence

   PTX-0041         DIVITTORIO_WHATSAPP_00000008       Eshkar Ex. 2014       WhatsApp messages between T. DiVittorio and T. Timor dated Feb 18, 2019. Punitive Damages            DiVittorio, Terrence;
                                                                                                                                                                                  Eshkar, Ramon
   PTX-0042                                            Shohat Ex. 2015       LinkedIn profile of Yaron Shohat.                                         Background                 Shohat, Yaron
   PTX-0043            NSO_WHATSAPP_00045591           Shohat Ex. 2016       Q Cyber Technologies branded document titled, "Pegasus Version 3.0,       Punitive Damages           Shohat, Yaron
                                                                             Product Description" dated Aug, 2018.
   PTX-0044            NSO_WHATSAPP_00000287           Gazneli Ex. 2017      NSO internal Confluence record titled, "Android Product Management on     Punitive Damages           Gazneli, Tamir;
                                                       Shohat Ex. 2017       Pegasus 2.50" dated Apr 29, 2018.                                                                    Shohat, Yaron
   PTX-0045            NSO_WHATSAPP_00000768           Shohat Ex. 2018       NSO internal Confluence record titled, "Android Product Management on     Punitive Damages           Shohat, Yaron
                                                                             Pegasus 2.70, Abuse Prevention & White list updates" dated Apr 9, 2018.
   PTX-0046                 FPM-00025660                Gil Ex. 2019         Q Technologies presentation titled, "Company Overview" dated May 8, 2018. Punitive Damages           Eshkar, Ramon;
                                                       Shohat Ex. 2019                                                                                                            Shohat, Yaron
   PTX-0047                 FPM-00025651               Shohat Ex. 2020       Francisco Partners document titled, "Follow up DD request list - May 13,     Punitive Damages        Shohat, Yaron
                                                                             2018" dated May 13, 2018.




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   PTX-0048                                             Shohat Ex. 2021       Francisco Partners Press Release, "NSO Group Acquired by its Management" Background;               Shohat, Yaron
                                                                              (Dkt. No. 1-1).                                                                Punitive Damages
   PTX-0049              WA-NSO-00069100                Shohat Ex. 2022       Jefferies presentation titled, "Project NorthPole: Company Presentation" dated Punitive Damages    Shohat, Yaron
                                                                              around 2019.
   PTX-0050              WA-NSO-00100526                Shohat Ex. 2023       Westbridge document titled, "Phantom - Turn Your Target's Smartphone into Punitive Damages         Shohat, Yaron
                                                                              an Intelligence Gold Mine."
   PTX-0051                                                                   INTENTIONALLY OMITTED
   PTX-0052                                                                   INTENTIONALLY OMITTED
   PTX-0053                                                                   INTENTIONALLY OMITTED
   PTX-0054                FPM-00024345                 Shohat Ex. 2027       Q Technologies presentation titled, "Board Meeting Q2 2018" dated Aug 2, Punitive Damages          Shohat, Yaron
                                                                              2018.
   PTX-0055                                                                   INTENTIONALLY OMITTED
   PTX-0056                                                                   INTENTIONALLY OMITTED
   PTX-0057                                             Shohat Ex. 2030       Guardian media article by H. Davies and S. Kirchgaessner titled, "Israel tried Punitive Damages    Shohat, Yaron
                                                                              to frustrate US lawsuit over Pegasus spyware, leak suggests" dated Jul 25,
                                                                              2024.
   PTX-0058                                             Gazneli Ex. 2031      LinkedIn profile of Tamir Gazneli.                                             Background          Gazneli, Tamir
   PTX-0059           NSO_WHATSAPP_00045678             Gazneli Ex. 2032      Document titled, "Endpoint Solution, Product Description" dated May, 2018. Punitive Damages        Gazneli, Tamir

   PTX-0060           NSO_WHATSAPP_00008957             Gazneli Ex. 2033      NSO internal document titled, "Heaven OpSec."                                 Punitive Damages     Gazneli, Tamir
   PTX-0061           NSO_WHATSAPP_00008916             Gazneli Ex. 2034      NSO internal Confluence record titled, "Android Product Management on         Punitive Damages     Gazneli, Tamir
                                                                              Pegasus 2.70, Abuse Prevention" dated Jun 19, 2018.
   PTX-0062           NSO_WHATSAPP_00000288             Gazneli Ex. 2035      NSO internal Confluence record titled, "Android Product Management on         Punitive Damages     Gazneli, Tamir
                                                                              Pegasus 2.52, 2.52 (Android)" dated Apr 29, 2018.
   PTX-0063         COMPASS_WHATSAPP_00000231           Gazneli Ex. 2036      WhatsApp messages between J. Rose and T. DiVittorio, et al. dated May 1,      Punitive Damages     DiVittorio, Terrence;
                                                                              2018.                                                                                              Gazneli, Tamir
   PTX-0064         SHANER_WHATSAPP_00001121            Gazneli Ex. 2037      WhatsApp messages between J. Shaner and Y. Monsingo, et al. dated Jan 15,     Punitive Damages     Shaner, Joshua
                                                                              2019.
   PTX-0065         SHANER_WHATSAPP_00001835            Gazneli Ex. 2038      WhatsApp messages between J. Shaner and J. Shuman, et al. dated Jul 9,        Punitive Damages     Gazneli, Tamir;
                                                        Shaner Ex. 2054       2018.                                                                                              Shaner, Joshua
   PTX-0066         SHANER_WHATSAPP_00001489            Gazneli Ex. 2039      WhatsApp messages between J. Shaner and O. Gantz, et al. dated May 12,        Punitive Damages     Gazneli, Tamir;
                                                                              2019.                                                                                              Shaner, Joshua
   PTX-0067           NSO_WHATSAPP_00012913             Gazneli Ex. 2040      NSO internal Confluence record titled, "MEPA Android Exploit Validation,      Punitive Damages     Gazneli, Tamir
                                                                              ERISED, Deviate installations on white environment - from 12/01/2020"
                                                                              dated Feb 24, 2020.
   PTX-0068                                               Gil Ex. 2041        LinkedIn profile of Sarit Bizinsky Gil.                                       Background           Gil, Sarit Bizinsky
   PTX-0069                                                                   INTENTIONALLY OMITTED
   PTX-0070                FPM-00027140                   Gil Ex. 2043        Email from K. Wilson to E. Gorev, S. Kodner, regarding, "LM" attaching a      Punitive Damages     Eshkar, Ramon;
                                                                              spreadsheet titled "LDM Active accounts.xlsx" dated May 22, 2018.                                  Gazneli, Tamir;
                                                                                                                                                                                 Gil, Sarit Bizinsky;
                                                                                                                                                                                 Shohat, Yaron
   PTX-0071                FPM-00012119                   Gil Ex. 2044        Document titled, "Pricing Policy 4.6.3" stamped "Confidential Tali Meroz      Punitive Damages     Eshkar, Ramon;
                                                                              EBN & CO" dated Feb 13, 2014.                                                                      Gazneli, Tamir;
                                                                                                                                                                                 Gil, Sarit Bizinsky;
                                                                                                                                                                                 Shohat, Yaron
   PTX-0072           NSO_WHATSAPP_00045858               Gil Ex. 2045        Spreadsheet created for the purposes of the 30(b)(6) deposition of S. Gil     Punitive Damages     Gil, Sarit Bizinsky
                                                     Pinsonneault Ex. 2045    containing Android covert vector revenue data extracted from NewCo
                                                                              consolidated financial reports dated between 2018 and 2020.
   PTX-0073           NSO_WHATSAPP_00000034               Gil Ex. 2046        Document titled, "NSO Group Technologies Ltd. Consolidated financial          Punitive Damages     Eshkar, Ramon;
                                                                              statements for December 31, 2019 in thousands of U.S. Dollars" (with                               Gazneli, Tamir;
                                                                              certified Hebrew to English translation) dated Dec 31, 2019.                                       Gil, Sarit Bizinsky;
                                                                                                                                                                                 Shohat, Yaron
   PTX-0074                                                                   INTENTIONALLY OMITTED




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   PTX-0075         DIVITTORIO_WHATSAPP_00000012            Gil Ex. 2048         WhatsApp messages between T. DiVittorio and T. Timor dated Jul 10, 2018.       Punitive Damages    DiVittorio, Terrence

   PTX-0076            NSO_WHATSAPP_00046351               Shaner Ex. 2049       Intercompany Distribution Agreement between OSY Technologies S.ar.l, Q      Punitive Damages       Shaner, Joshua;
                                                                                 Cyber Technologies S.ar.l, Westbridge Technologies Inc., CS Circles                                Shohat, Yaron
                                                                                 Solutions Ltd., and MS Magnet Solutions Ltd. dated Oct 25, 2017.
   PTX-0077                                                                      INTENTIONALLY OMITTED
   PTX-0078         WESTBRIDGE_WHATSAPP_00003697           Shaner Ex. 2051       Westbridge document titled, "Pitch: Happy Flow" and including "Shaner_Josh- Punitive Damages       Shaner, Joshua
                                                                                 00050094" in the footer dated Aug 11, 2015.
   PTX-0079           SHANER_WHATSAPP_00001747             Shaner Ex. 2052       WhatsApp messages between J. Shaner and C. Nehustan, et al. dated Apr 29, Punitive Damages         Shaner, Joshua
                                                                                 2018.
   PTX-0080           SHANER_WHATSAPP_00001751             Shaner Ex. 2053       WhatsApp messages between J. Shaner and J. Shuman, et al. dated May 3,      Punitive Damages       Shaner, Joshua
                                                                                 2018.
   PTX-0081           SHANER_WHATSAPP_00001487             Shaner Ex. 2056       WhatsApp messages between J. Shaner and Y. Monsingo, et al. (w/Certified Punitive Damages          Shaner, Joshua
                                                                                 Translation) dated May 12, 2019.
   PTX-0082           SHANER_WHATSAPP_00001176             Shaner Ex. 2057       WhatsApp messages between J. Shaner and Amit, et al. dated Jan 29, 2019.    Punitive Damages       Shaner, Joshua

   PTX-0083           SHANER_WHATSAPP_00001513             Shaner Ex. 2058       WhatsApp messages between J. Shaner and A. On, et al. dated Jun 12, 2019.      Punitive Damages    Shaner, Joshua

   PTX-0084           SHANER_WHATSAPP_00001492             Shaner Ex. 2059       WhatsApp messages between J. Shaner and A. On, et al. dated May 13, 2019. Punitive Damages         Shaner, Joshua

   PTX-0085           SHANER_WHATSAPP_00001453             Shaner Ex. 2060       WhatsApp messages between J. Shaner and NOC 2 dated Apr 24, 2019.              Punitive Damages    Shaner, Joshua
   PTX-0086           SHANER_WHATSAPP_00001483             Shaner Ex. 2061       WhatsApp messages between J. Shaner and '12027655322@s.whatsapp.net'           Punitive Damages    Shaner, Joshua
                                                                                 dated May 9, 2019.
   PTX-0087           SHANER_WHATSAPP_00001484             Shaner Ex. 2062       WhatsApp messages between J. Shaner and 'NOC 2' dated May 9, 2019.             Punitive Damages    Shaner, Joshua
   PTX-0088           SHANER_WHATSAPP_00001486             Shaner Ex. 2063       Screenshot titled "Installation Status" for "Steve Grover +12027655322" sent   Punitive Damages    Shaner, Joshua
                                                                                 by J. Shaner to 'NOC 2' (see PXT-0087) dated May 9, 2019.
   PTX-0089                WA-NSO-00000127                 Shaner Ex. 2064       AT&T document titled, "Wireless Subscriber Information - 41088629330"          Punitive Damages    Shaner, Joshua
                                                                                 dated May 22, 2020.
   PTX-0090                                                                      INTENTIONALLY OMITTED
   PTX-0091                                                                      INTENTIONALLY OMITTED
   PTX-0092           SHANER_WHATSAPP_00001584             Shaner Ex. 2068       WhatsApp messages between J. Shaner and C. Nehustan dated Feb 5, 2018.         Punitive Damages    Shaner, Joshua

   PTX-0093           SHANER_WHATSAPP_00001589             Shaner Ex. 2069       WhatsApp messages between J. Shaner and Gilad dated Feb 6, 2018.               Punitive Damages    Shaner, Joshua
   PTX-0094           SHANER_WHATSAPP_00001702             Shaner Ex. 2070       WhatsApp messages between J. Shaner and NOC 2 dated Apr 5, 2018.               Punitive Damages    Shaner, Joshua
   PTX-0095           SHANER_WHATSAPP_00001719             Shaner Ex. 2071       WhatsApp messages between J. Shaner and 'NOC 2' dated Apr 19, 2018.            Punitive Damages    Shaner, Joshua
   PTX-0096           SHANER_WHATSAPP_00001723             Shaner Ex. 2072       Screenshot titled "Installations" listing phone number +12028990228 sent by    Punitive Damages    Shaner, Joshua
                                                                                 J. Shaner to 'NOC 2' (see PXT-0095) dated Apr 19, 2018.
   PTX-0097           SHANER_WHATSAPP_00001843             Shaner Ex. 2073       WhatsApp messages between J. Shaner and J. Shuman dated Jul 11, 2018.          Punitive Damages    Shaner, Joshua

   PTX-0098           SHANER_WHATSAPP_00000722             Shaner Ex. 2074       WhatsApp messages between J. Shaner and 'Gilad' dated Jan 29, 2018.      Punitive Damages          Shaner, Joshua
   PTX-0099                                                                      INTENTIONALLY OMITTED
   PTX-0100         DIVITTORIO_WHATSAPP_00000013         DiVittorio Ex. 2077     WhatsApp messages between T. DiVittorio and T. Timor dated Aug 31, 2018. Punitive Damages          DiVittorio, Terrence

   PTX-0101                                                                      INTENTIONALLY OMITTED
   PTX-0102                                                                      INTENTIONALLY OMITTED
   PTX-0103            NSO_WHATSAPP_00046360             DiVittorio Ex. 2080     Intercompany Distribution Agreement between OSY Technologies S.ar.l, Q        Punitive Damages     DiVittorio, Terrence;
                                                          Shaner Ex. 1402        Cyber Technologies S.ar.l, Q Cyber Technologies Ltd., NSO Group                                    Shaner, Joshua
                                                                                 Technologies Ltd., Westbridge Technologies Inc., and PFOS Technologies
                                                                                 Ltd. dated Oct 26, 2017.
   PTX-0104                  E-Tel0005233                DiVittorio Ex. 2081     Email from M. Deyle to T. DiVittorio regarding, "Pricing for C" dated Feb 12, Punitive Damages     DiVittorio, Terrence
                                                                                 2018.
   PTX-0105                                                                      INTENTIONALLY OMITTED
   PTX-0106                                                                      INTENTIONALLY OMITTED




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   PTX-0107         DIVITTORIO_WHATSAPP_00000020    DiVittorio Ex. 2084     WhatsApp messages between T. DiVittorio and T. Timor dated Sep 3, 2018.        Punitive Damages       DiVittorio, Terrence

   PTX-0108                                                                 INTENTIONALLY OMITTED
   PTX-0109                                                                 INTENTIONALLY OMITTED
   PTX-0110                                                                 INTENTIONALLY OMITTED
   PTX-0111                                                                 Defendant NSO Group Technologies Limited's Supplemental Objections and Background;                    Eshkar, Ramon;
                                                                            Responses to Plaintiffs' First Set of Interrogatories Nos. 1-3, 6-9 dated Sep 13, Punitive Damages    Gazneli, Tamir;
                                                                            2024.                                                                                                 Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shohat, Yaron
   PTX-0112               WA-NSO-00014825                                   WhatsApp Terms of Service dated Aug 25, 2016.                            Compensatory Damages;        Woog, Carl
                                                                                                                                                     Punitive Damages
   PTX-0113          SHANER_WHATSAPP_00001480                               WhatsApp messages between J. Shaner and Y. Monsingo, et al. dated May 8, Punitive Damages             Shaner, Joshua
                                                                            2019.
   PTX-0114            NSO_WHATSAPP_00044814                                NSO internal Confluence record titled, "MEPA Android Exploit Validation, Punitive Damages             Eshkar, Ramon;
                                                                            ERISED, Deviate installations on white environment - from 12/01/2020"                                 Gazneli, Tamir;
                                                                            dated Jun 7, 2020.                                                                                    Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shohat, Yaron
   PTX-0115               WA-NSO-00192176                                   Excerpt of PTX-0117 (spreadsheet of attacker device data relating to the May Compensatory Damages;    Gheorghe, Claudiu;
                                                                            2019 exploit), filtered to show only entries for which (1) the “account_type” Punitive Damages        Robinson, Drew
                                                                            column has the value “attacker” or “NSO Group” and (2) the
                                                                            “deletion_reason” column has the value “purge”.
   PTX-0116               WA-NSO-00192176                                   Excerpt of PTX-0117 (spreadsheet of attacker device data relating to the May Compensatory Damages;    Gheorghe, Claudiu;
                                                                            2019 exploit), filtered to show only entries for which the “account_type”     Punitive Damages        Robinson, Drew
                                                                            column has the value “attacker”.
   PTX-0117               WA-NSO-00192176                                   Spreadsheet of attacker device data relating to the May 2019 exploit.         Compensatory Damages;   Gheorghe, Claudiu;
                                                                                                                                                          Punitive Damages        Robinson, Drew
   PTX-0118               WA-NSO-00195067                                   WhatsApp Terms of Service dated Jan 28, 2020.                                 Compensatory Damages;   Woog, Carl
                                                                                                                                                          Punitive Damages
   PTX-0119               WA-NSO-00166473                                   Spreadsheet of relay server locations titled "edgeray daiquery-               Punitive Damages        Gheorghe, Claudiu;
                                                                            511135836112696-938048393236436-2019-09-10 11_47am.csv."                                              Robinson, Drew
   PTX-0120               WA-NSO-00004162                                   Westbridge document titled, "Phantom, Turn Your Target's Smartphone into Punitive Damages             DiVittorio, Terrence;
                                                                            an Intelligence Gold Mine."                                                                           Eshkar, Ramon;
                                                                                                                                                                                  Gazneli, Tamir;
                                                                                                                                                                                  Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shaner, Joshua
                                                                                                                                                                                  Shohat, Yaron;
   PTX-0121                                                                 INTENTIONALLY OMITTED
   PTX-0122                                                                 Chart listing certain phone numbers found in WhatsApp messages.                Background;            DiVittorio, Terrence;
                                                                                                                                                           Punitive Damages       Shaner, Joshua
   PTX-0123          SHANER_WHATSAPP_00000950                               WhatsApp messages between J. Shaner and E. Shachar, et al. dated Sep 16,       Punitive Damages       Shaner, Joshua
                                                                            2018.
   PTX-0124          SHANER_WHATSAPP_00000951                               WhatsApp messages between J. Shaner and O. Kaplan, et al. dated Sep 17,        Punitive Damages       Shaner, Joshua
                                                                            2018.
   PTX-0125                                                                 Declaration of Meghan Andre in Support of Plaintiffs' Motion for Partial       Punitive Damages       Business Records Certification
                                                                            Summary Judgment dated Sep 27, 2024.
   PTX-0126               WA-NSO-00195076                                   Spreadsheet of WhatsApp account information associated with NSO devices        Punitive Damages       Business Records Certification
                                                                            dated Sep 12, 2024.
   PTX-0127               WA-NSO-00014771                                   Letter from QuadraNet Compliance to M. Hansen (O'Melveny & Myers LLP)          Punitive Damages       DiVittorio, Terrence;
                                                                            regarding "Subpoena for Civil Action No. 4:19-cv-07123-PJH" dated Jun 4,                              Eshkar, Ramon;
                                                                            2020.                                                                                                 Gazneli, Tamir;
                                                                                                                                                                                  Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shaner, Joshua;
                                                                                                                                                                                  Shohat, Yaron




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   PTX-0128            WA-NSO-00000019                                   Document titled, "Requested information" produced by 365 LLC Group in        Punitive Damages    DiVittorio, Terrence;
                                                                         response to Plaintiffs' subpoena on Sep 21, 2020.                                                Eshkar, Ramon;
                                                                                                                                                                          Gazneli, Tamir;
                                                                                                                                                                          Gil, Sarit Bizinsky;
                                                                                                                                                                          Shaner, Joshua;
                                                                                                                                                                          Shohat, Yaron
   PTX-0129            WA-NSO-00000023                                   Document titled, "15299 - Antonio Almeda - Clients Information" produced     Punitive Damages    DiVittorio, Terrence;
                                                                         by 365 LLC Group in response to Plaintiffs' subpoena on Sep 9, 2020.                             Eshkar, Ramon;
                                                                                                                                                                          Gazneli, Tamir;
                                                                                                                                                                          Gil, Sarit Bizinsky;
                                                                                                                                                                          Shaner, Joshua;
                                                                                                                                                                          Shohat, Yaron
   PTX-0130         NSO_WHATSAPP_00007959                                NSO internal Confluence record titled, "MEPA Android Exploit Validation,     Punitive Damages    Eshkar, Ramon;
                                                                         ERISED, Erised White Devices" dated Mar 19, 2020.                                                Gazneli, Tamir;
                                                                                                                                                                          Gil, Sarit Bizinsky;
                                                                                                                                                                          Shohat, Yaron
   PTX-0131            WA-NSO-00067661                                   Confidential information memorandum titled, "Q Technologies $315,000,000 Punitive Damages        Eshkar, Ramon;
                                                                         Senior Securted Credit Facilities" prepared by Credit Suisse dated Mar, 2017.                    Gazneli, Tamir;
                                                                                                                                                                          Gil, Sarit Bizinsky;
                                                                                                                                                                          Shohat, Yaron
   PTX-0132            WA-NSO-00069802                                   NSO Group, Novalpina Capital, and Jeffries branded presentation titled,      Punitive Damages    Eshkar, Ramon;
                                                                         "NSO (Project Northpole)" dated Jan, 2019.                                                       Gazneli, Tamir;
                                                                                                                                                                          Gil, Sarit Bizinsky;
                                                                                                                                                                          Shohat, Yaron
   PTX-0133            WA-NSO-00067809                                   Q Technologies presentation titled, "Lender Presentation" dated Mar, 2017.   Punitive Damages    Eshkar, Ramon;
                                                                                                                                                                          Gazneli, Tamir;
                                                                                                                                                                          Gil, Sarit Bizinsky;
                                                                                                                                                                          Shohat, Yaron
   PTX-0134              FPM-00015812                                    Q Cyber Technologies presentation titled, "Board Meeting Q2 2018" dated      Punitive Damages    Eshkar, Ramon;
                                                                         Aug 2, 2018.                                                                                     Gazneli, Tamir;
                                                                                                                                                                          Gil, Sarit Bizinsky;
                                                                                                                                                                          Shohat, Yaron
   PTX-0135                                                              INTENTIONALLY OMITTED
   PTX-0136                                                              INTENTIONALLY OMITTED
   PTX-0137                                                              INTENTIONALLY OMITTED
   PTX-0138                                                              INTENTIONALLY OMITTED
   PTX-0139                                                              INTENTIONALLY OMITTED
   PTX-0140                                                              INTENTIONALLY OMITTED
   PTX-0141                                                              INTENTIONALLY OMITTED
   PTX-0142                                                              INTENTIONALLY OMITTED
   PTX-0143                                                              INTENTIONALLY OMITTED
   PTX-0144                                                              INTENTIONALLY OMITTED
   PTX-0145         NSO_WHATSAPP_00000200       Pinsonneault Ex. 2091    Signed agreement between Q Cyber Technologies SARL and redacted party        Punitive Damages    Shohat, Yaron
                                                                         dated Jun 20, 2019.
   PTX-0146         NSO_WHATSAPP_00000823                                NSO internal Confluence record titled, "Heaven System Architecture           Punitive Damages    Eshkar, Ramon;
                                                                         Specification - DRAFT" dated Nov 20, 2017.                                                       Gazneli, Tamir;
                                                                                                                                                                          Gil, Sarit Bizinsky;
                                                                                                                                                                          Shohat, Yaron




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   PTX-0147                WA-NSO-00000121                                   List of IP addresses produced by Amazon Web Services in response to             Punitive Damages        DiVittorio, Terrence;
                                                                             Plaintiffs' subpoena on Oct 15, 2020.                                                                   Eshkar, Ramon;
                                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                                     Gil, Sarit Bizinsky;
                                                                                                                                                                                     Shaner, Joshua;
                                                                                                                                                                                     Shohat, Yaron
   PTX-0148                WA-NSO-00016432                                   Screenshot of WhatsApp messages (in Hebrew) with Nir Livshitz dated May         Punitive Damages        Eshkar, Ramon;
                                                                             14, 2019.                                                                                               Gazneli, Tamir;
                                                                                                                                                                                     Gil, Sarit Bizinsky;
                                                                                                                                                                                     Shohat, Yaron
   PTX-0149                WA-NSO-00016565                                   Pegasus computer code file (full_fingerprint.py).                               Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                                     Youssef, David.
   PTX-0150                WA-NSO-00016952                                   Pegasus computer code file (__init__.py).                                       Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                                     Youssef, David.
   PTX-0151                WA-NSO-00022111                                   Email from C. Gheorghe to A. Godbole regarding, "[tasks] T34775320:             Compensatory Damages;   Gheorghe, Claudiu
                                                                             [Follow-up] Server to validate call stanzas as defined in the protocol" dated   Punitive Damages
                                                                             May 9, 2019.
   PTX-0152           SHANER_WHATSAPP_00000957                               WhatsApp messages between J. Shaner and Gilad, et al. dated Sep 24, 2018.       Punitive Damages        Shaner, Joshua

   PTX-0153           SHANER_WHATSAPP_00000128                               Messsages between J. Shaner and J. Shuman dated Jan 14, 2019.                 Punitive Damages          Shaner, Joshua
   PTX-0154                WA-NSO-00192765                                   Task No. T47025751, "[S182393] add logging / block for suspicious iq          Compensatory Damages;     Gheorghe, Claudiu
                                                                             stanzas" dated Oct 22, 2020.                                                  Punitive Damages
   PTX-0155                WA-NSO-00192781                                   Document titled, "SEV 3 S182393: [WhatsApp] Suspicious iq stanzas" dated      Compensatory Damages;     Gheorghe, Claudiu
                                                                             Jul 10, 2019.                                                                 Punitive Damages
   PTX-0156                WA-NSO-00017577                                   WhatsApp log file (edgeray_phones_to_ips.csv).                                Compensatory Damages;     Gheorghe, Claudiu
                                                                                                                                                           Punitive Damages
   PTX-0157                WA-NSO-00017581                                   WhatsApp log file (wa_voip_invalid_stanzas_backfill_final.csv).               Compensatory Damages;     Gheorghe, Claudiu
                                                                                                                                                           Punitive Damages
   PTX-0158                WA-NSO-00060733                                   Email from I. Mohamed to Y. Wang regarding, "[tasks] T34775320: [Follow- Compensatory Damages;          Gheorghe, Claudiu
                                                                             up] Server to validate call stanzas as defined in the protocol" dated May 2,  Punitive Damages
                                                                             2019.
   PTX-0159                WA-NSO-00166025                                   Email from A. Labunets to C. Padua regarding, "[tasks] T44794935: Identify Compensatory Damages;        Gheorghe, Claudiu
                                                                             accurately affected victims from all attempts" dated Jun 6, 2019.             Punitive Damages
   PTX-0160         WESTBRIDGE_WHATSAPP_00000660                             Q Cyber Technologies brochure titled, "Pegasus - A Cloak of darkness" dated Punitive Damages            DiVittorio, Terrence;
                                                                             2016.                                                                                                   Shaner, Joshua
   PTX-0161         WESTBRIDGE_WHATSAPP_00002330                             Westbridge presentation titled, "From data to intelligence, Evolve into       Punitive Damages          DiVittorio, Terrence;
                                                                             Pegasus 3" dated 2017.                                                                                  Shaner, Joshua
   PTX-0162         WESTBRIDGE_WHATSAPP_00001351                             Document titled, "Android basics - How to get device info" with "Shaner_Josh- Punitive Damages          DiVittorio, Terrence;
                                                                             00035950" in the footer dated Aug 28, 2018.                                                             Shaner, Joshua
   PTX-0163         WESTBRIDGE_WHATSAPP_00002912                             Westbridge presentation titled, "Existing Solutions" dated 2016.              Punitive Damages          DiVittorio, Terrence;
                                                                                                                                                                                     Shaner, Joshua
   PTX-0164                                                                  INTENTIONALLY OMITTED
   PTX-0165                                                                  INTENTIONALLY OMITTED
   PTX-0166                WA-NSO-00016429                                   Hebrew to English translation of PXT-0148 (screenshot of WhatsApp               Punitive Damages        Eshkar, Ramon;
                                                                             messages with Nir Livshitz).                                                                            Gazneli, Tamir;
                                                                                                                                                                                     Gil, Sarit Bizinsky;
                                                                                                                                                                                     Shohat, Yaron
   PTX-0167                                                                  INTENTIONALLY OMITTED




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   PTX-0168                 FPM-00015627                                     Document titled, "OSY Board notes 23/11 - New York" dated Nov 26, 2015. Punitive Damages            Eshkar, Ramon;
                                                                                                                                                                                 Gazneli, Tamir;
                                                                                                                                                                                 Gil, Sarit Bizinsky;
                                                                                                                                                                                 Shohat, Yaron
   PTX-0169         WESTBRIDGE_WHATSAPP_00000653                             Email from A. Todria to S. Cohen regarding, "Weekly IM report 9.6.16" dated Punitive Damages        DiVittorio, Terrence;
                                                                             Jun 9, 2016.                                                                                        Shaner, Joshua
   PTX-0170         WESTBRIDGE_WHATSAPP_00001247                             Email from A. Todria to S. Cohen regarding, "IM report 31.5.16" dated May Punitive Damages          DiVittorio, Terrence;
                                                                             31, 2016.                                                                                           Shaner, Joshua
   PTX-0171         WESTBRIDGE_WHATSAPP_00001698                             Westbridge spreadsheet titled "Nigeria 1701014" dated Jan 17, 2014.         Punitive Damages        DiVittorio, Terrence;
                                                                                                                                                                                 Shaner, Joshua
   PTX-0172         WESTBRIDGE_WHATSAPP_00002716                             Westbridge spreadsheet titled "Test Numbers - V1" dated around 2014.        Punitive Damages        DiVittorio, Terrence;
                                                                                                                                                                                 Shaner, Joshua
   PTX-0173         WESTBRIDGE_WHATSAPP_00003572                             Q Cyber Technologies document titled, "Price Proposal" dated around 2015.   Punitive Damages        DiVittorio, Terrence;
                                                                                                                                                                                 Shaner, Joshua
   PTX-0174                                                                  INTENTIONALLY OMITTED
   PTX-0175                WA-NSO-00055668                                   WhatsApp log file (attacker_to_victim__logs.txt).                           Compensatory Damages;   Gheorghe, Claudiu;
                                                                                                                                                         Punitive Damages        Robinson, Drew
   PTX-0176                WA-NSO-00111560                                   Email from C. Gheorghe to A. Labunets regarding, "[tasks] T44847508:        Compensatory Damages;   Gheorghe, Claudiu
                                                                             Improve security for VoIP Infrastructure" dated Jul 23, 2019.               Punitive Damages
   PTX-0177                WA-NSO-00016916                                   Pegasus computer code file (api.py).                                        Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                 Robinson, Drew;
                                                                                                                                                                                 Gazneli, Tamir;
                                                                                                                                                                                 Youssef, David.
   PTX-0178                WA-NSO-00016500                                   Pegasus computer code file (dal.py).                                        Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                 Robinson, Drew;
                                                                                                                                                                                 Gazneli, Tamir;
                                                                                                                                                                                 Youssef, David.
   PTX-0179                WA-NSO-00016474                                   Pegasus computer code file (exploit.py).                                    Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                 Robinson, Drew;
                                                                                                                                                                                 Gazneli, Tamir;
                                                                                                                                                                                 Youssef, David.
   PTX-0180                WA-NSO-00016503                                   Pegasus computer code file (consts.py).                                     Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                 Robinson, Drew;
                                                                                                                                                                                 Gazneli, Tamir;
                                                                                                                                                                                 Youssef, David.
   PTX-0181                WA-NSO-00195167                                   Pegasus computer code file (leak_tests.py).                                 Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                 Robinson, Drew;
                                                                                                                                                                                 Gazneli, Tamir;
                                                                                                                                                                                 Youssef, David.
   PTX-0182                WA-NSO-00195164                                   Pegasus computer code file (tester_config.py).                              Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                 Robinson, Drew;
                                                                                                                                                                                 Gazneli, Tamir;
                                                                                                                                                                                 Youssef, David.
   PTX-0183                WA-NSO-00195172                                   Pegasus computer code file (relay.py).                                      Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                 Robinson, Drew;
                                                                                                                                                                                 Gazneli, Tamir;
                                                                                                                                                                                 Youssef, David.
   PTX-0184                WA-NSO-00195146                                   Pegasus computer code file (server.py).                                     Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                 Robinson, Drew;
                                                                                                                                                                                 Gazneli, Tamir;
                                                                                                                                                                                 Youssef, David.




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   PTX-0185         WA-NSO-00195165                                   Pegasus computer code file (server.py).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0186         WA-NSO-00195206                                   Pegasus computer code file (server.py).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0187         WA-NSO-00195169                                   Pegasus computer code file (timer_heap_tests.py).            Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0188         WA-NSO-00195170                                   Pegasus computer code file (txcache_tests.py).               Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0189         WA-NSO-00195161                                   Pegasus computer code file (sparrow_test.py).                Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0190         WA-NSO-00195140                                   Pegasus computer code file (stun.py).                        Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0191         WA-NSO-00195271                                   Pegasus computer code file (stun.py).                        Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0192         WA-NSO-00195162                                   Pegasus computer code file (test.py).                        Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0193         WA-NSO-00195163                                   Pegasus computer code file (tester.py).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0194         WA-NSO-00016434                                   Pegasus computer code file (wis_key.pem).                    Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0195         WA-NSO-00016475                                   Pegasus computer code file (stun.py).                        Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0196         WA-NSO-00016502                                   Pegasus computer code file (config.json).                    Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0197         WA-NSO-00137014                                   Pegasus computer code file (log_parse.py).                   Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.




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   PTX-0198                                                             Record from American Registry for Internet Numbers (ARIN), ARIN         Punitive Damages            Youssef, David
                                                                        Whois/RDAP, https://search.arin.net/rdap/?query=157.240.0.0%2F16.
   PTX-0199                                                             Record from American Registry for Internet Numbers (ARIN), ARIN         Punitive Damages            Youssef, David
                                                                        Whois/RDAP, https://search.arin.net/rdap/?query=179.60.192.48.
   PTX-0200                                                             Record from American Registry for Internet Numbers (ARIN), WHOIS-RWS, Punitive Damages              Youssef, David
                                                                        https://whois.arin.net/rest/net/NET-104-223-0-0-1/pft?s=104.223.76.220.

   PTX-0201                                                             Record from American Registry for Internet Numbers (ARIN), WHOIS-RWS, Punitive Damages              Youssef, David
                                                                        https://whois.arin.net/rest/net/NET-54-93-0-0-1/pft?s=54.93.81.200.
   PTX-0202                                                             INTENTIONALLY OMITTED
   PTX-0203                                                             Publication by the National Institute of Standards and Technology (NIST),    Background;            Youssef, David
                                                                        U.S. Department of Commerce, titled "CVE-2019-3568 Detail, National          Punitive Damages
                                                                        Vulnerability Database" https://nvd.nist.gov/vuln/detail/CVE-2019-3568# last
                                                                        updated Jul 2, 2024.
   PTX-0204                                                             INTENTIONALLY OMITTED
   PTX-0205                                                             Facebook website page titled "Whitehat Information"                          Compensatory Damages   Gheorghe, Claudiu;
                                                                        https://www.facebook.com/whitehat, Internet Archive (Apr. 28, 2019),                                Robinson, Drew;
                                                                        https://web.archive.org/web/20190428185742/https://www.facebook.com/whi                             Woog, Carl
                                                                        tehat dated Sep 12, 2018.
   PTX-0206                                                             INTENTIONALLY OMITTED
   PTX-0207                                                             WhatsApp blog post titled "400 Million Stories"                              Compensatory Damages   Woog, Carl
                                                                        https://blog.whatsapp.com/400-million-stories dated Dec 19, 2013.
   PTX-0208                                                             WhatsApp blog post titled "500,000,000" https://blog.whatsapp.com/500-000- Compensatory Damages     Woog, Carl
                                                                        000 dated Apr 22, 2014.
   PTX-0209                                                             WhatsApp blog post titled "One Billion" https://blog.whatsapp.com/one-       Compensatory Damages   Woog, Carl
                                                                        billion dated Feb 1, 2016.
   PTX-0210                                                             WhatsApp blog post titled "Two Billion Users -- Connecting the World         Compensatory Damages   Woog, Carl
                                                                        Privately" https://blog.whatsapp.com/two-billion-users-connecting-the-world-
                                                                        privately dated Feb 12, 2020.
   PTX-0211                                                             WhatsApp Help Center website page titled "About end-to-end encryption"       Background;            Gheorghe, Claudiu;
                                                                        https://faq.whatsapp.com/820124435853543.                                    Punitive Damages       Robinson, Drew;
                                                                                                                                                                            Woog, Carl
   PTX-0212         WA-NSO-00195025                                     Presentation titled “NSO Script Review”.                                  Punitive Damages          Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew
   PTX-0213         WA-NSO-00195085                                     Presentation titled "WhatsApp Native Surface Overview."                   Punitive Damages          Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew
   PTX-0214         WA-NSO-00195082                                     WhatsApp internal Wiki page titled "WhatsApp VoIP > Architecture > Relay Punitive Damages           Gheorghe, Claudiu;
                                                                        Signaling."                                                                                         Robinson, Drew
   PTX-0215         WA-NSO-00195077                                     WhatsApp internal Wiki page titled "WhatsApp VoIP > Architecture >         Punitive Damages         Gheorghe, Claudiu;
                                                                        Signaling."                                                                                         Robinson, Drew
   PTX-0216         WA-NSO-00017574                                     WhatsApp log file (2018.12.04_Logs.txt).                                   Compensatory Damages;    Gheorghe, Claudiu
                                                                                                                                                   Punitive Damages
   PTX-0217         WA-NSO-00059196                                     Email from C. DeLeon to M. Scott regarding, "[tasks] T43922633: WA         Punitive Damages         Robinson, Drew
                                                                        Exploit Payload analysis" dated Jul 11, 2019.
   PTX-0218         WA-NSO-00166464                                     Email from O. Ebeling to J. Palau regarding, "[tasks] T33535414: Malformed Compensatory Damages;    Gheorghe, Claudiu
                                                                        Whatsapp voip_settings can be used to (at least) DoS a victim with no user Punitive Damages
                                                                        interaction" dated Dec 5, 2018.
   PTX-0219         WA-NSO-00192812                                     Source code document titled "Diff D13309896 [chatd/mod_call] Reject        Punitive Damages         Gheorghe, Claudiu
                                                                        stanzas with group_update."
   PTX-0220         WA-NSO-00017211                                     WhatsApp log file (logs_2019-05-03_17_54_19.txt).                          Compensatory Damages;    Gheorghe, Claudiu
                                                                                                                                                   Punitive Damages
   PTX-0221         WA-NSO-00017573                                     WhatsApp log file (bash_commands_easy_read.txt).                           Compensatory Damages;    Gheorghe, Claudiu
                                                                                                                                                   Punitive Damages




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   PTX-0222              WA-NSO-00017575                                   WhatsApp log file (edgeray_packets_attack_0_64_f_filter.txt).                  Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                                          Punitive Damages
   PTX-0223              WA-NSO-00017576                                   WhatsApp log file (edgeray_packets_attack_0_32_f_filter.txt).                  Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                                          Punitive Damages
   PTX-0224              WA-NSO-00017578                                   WhatsApp log file (edgeray_phones_to_ips.txt).                                 Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                                          Punitive Damages
   PTX-0225              WA-NSO-00017579                                   WhatsApp log file (stanzaming_crashdumps.csv).                                 Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                                          Punitive Damages
   PTX-0226              WA-NSO-00017580                                   WhatsApp log file (wa_voip_invalid_stanzas.csv).                               Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                                          Punitive Damages
   PTX-0227         COMPASS_WHATSAPP_00000018                              Document titled, "Westbridge Technologies, A World Leader in Cyber             Punitive Damages        Eshkar, Ramon;
                                                                           Intelligence Systems" dated Dec 31, 2018.                                                              Gazneli, Tamir;
                                                                                                                                                                                  Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shohat, Yaron
   PTX-0228                                                                INTENTIONALLY OMITTED
   PTX-0229                                                                INTENTIONALLY OMITTED
   PTX-0230                                                                INTENTIONALLY OMITTED
   PTX-0231                                                                INTENTIONALLY OMITTED
   PTX-0232                                                                INTENTIONALLY OMITTED
   PTX-0233                                                                INTENTIONALLY OMITTED
   PTX-0234                FPM-00004888                                    Terms and Conditions of Sale between CT-Circles Technologies Ltd. and Al       Punitive Damages        Eshkar, Ramon;
                                                                           Thuraya Consultancy & Researches L.L.C. dated Mar 3, 2014.                                             Shohat, Yaron;
                                                                                                                                                                                  Gazneli, Tamir;
                                                                                                                                                                                  Gil, Sarit Bizinsky
   PTX-0235                                                                INTENTIONALLY OMITTED
   PTX-0236                                                                INTENTIONALLY OMITTED
   PTX-0237                                                                INTENTIONALLY OMITTED
   PTX-0238                FPM-00015681                                    Q Cyber Technologies presentation titled, "Q1 BOD Meeting" dated May 1,        Punitive Damages        Eshkar, Ramon;
                                                                           2018.                                                                                                  Gazneli, Tamir;
                                                                                                                                                                                  Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shohat, Yaron
   PTX-0239                FPM-00015924                                    Q Cyber Technologies presentation titled, "FP Call" (color version) dated Sep Punitive Damages         Eshkar, Ramon;
                                                                           6, 2018.                                                                                               Gazneli, Tamir;
                                                                                                                                                                                  Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shohat, Yaron
   PTX-0240                FPM-00015950                                    Q Cyber Technologies presentation titled, "FP Call" (black and white version) Punitive Damages         Eshkar, Ramon;
                                                                           dated Sep 6, 2018.                                                                                     Gazneli, Tamir;
                                                                                                                                                                                  Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shohat, Yaron
   PTX-0241                FPM-00016034                                    Q Cyber Technologies presentation titled, "Q3 Board Meeting" dated Oct 29, Punitive Damages            Eshkar, Ramon;
                                                                           2018.                                                                                                  Gazneli, Tamir;
                                                                                                                                                                                  Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shohat, Yaron
   PTX-0242                FPM-00016163                                    Francisco Partners document titled, "Finance" with intitials [APG] in footer   Punitive Damages        Eshkar, Ramon;
                                                                           dated Oct 29, 2018.                                                                                    Gazneli, Tamir;
                                                                                                                                                                                  Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shohat, Yaron
   PTX-0243                FPM-00016237                                    Q Cyber Technologies presentation titled, "Business Forum Q4" dated Dec        Punitive Damages        Eshkar, Ramon;
                                                                           15, 2018.                                                                                              Gazneli, Tamir;
                                                                                                                                                                                  Gil, Sarit Bizinsky;
                                                                                                                                                                                  Shohat, Yaron




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   PTX-0244         FPM-00016253                                    Q Cyber Technologies presentation titled, "Q4 Board Meeting" dated Feb 4,     Punitive Damages    Eshkar, Ramon;
                                                                    2019.                                                                                             Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0245         FPM-00024019                                    Francisco Partners presentation titled, "OSY PC Update" dated Jan 16, 2018. Punitive Damages      Eshkar, Ramon;
                                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0246         FPM-00024223                                    Spreadsheet titled, "budget 2018-PP March 28" with financial information      Punitive Damages    Eshkar, Ramon;
                                                                    regarding Pegasus, Landmark, and Pixcell dated Mar 29, 2018.                                      Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0247         FPM-00024323                                    Email from J. Murphy to M. Spetzler, et al. regarding, "Q Technologies - year- Punitive Damages   Eshkar, Ramon;
                                                                    to-date accounts" dated Dec 13, 2017.                                                             Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0248         FPM-00024517                                    Spreadsheet titled, "Project Moon model (November 2017)_v06 Sent              Punitive Damages    Eshkar, Ramon;
                                                                    Moon122017" dated Aug 16, 2018.                                                                   Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0249         FPM-00024530                                    Presentation titled, "FP Call" dated Sep 6, 2018.                             Punitive Damages    Eshkar, Ramon;
                                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0250         FPM-00024619                                    Spreadsheet titled, "Q - Cap Table v4" dated Feb 6, 2019.                     Punitive Damages    Eshkar, Ramon;
                                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0251         FPM-00024623                                    Q Cyber Technologies presentation titled, "Q's Strategy Board Presentation"   Punitive Damages    Eshkar, Ramon;
                                                                    dated 2018.                                                                                       Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0252         FPM-00025031                                    Spreadsheet titled, "Board pack Q4 V5 ZR" dated Feb 27, 2018.                 Punitive Damages    Eshkar, Ramon;
                                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0253         FPM-00025111                                    Q Cyber Technologies presentation titled, "Q Technologies Company             Punitive Damages    Eshkar, Ramon;
                                                                    Overview" dated May 8, 2018.                                                                      Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0254         FPM-00025163                                    Email from J. Murphy to M. Kohlsdorf, et al. regarding, "OSY board follow     Punitive Damages    Eshkar, Ramon;
                                                                    ups (DON'T FORWARD)" dated Nov 4, 2018.                                                           Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0255         FPM-00025481                                    Spreadsheet titled "budget 2018-PP March 28" dated Mar 29, 2018.              Punitive Damages    Eshkar, Ramon;
                                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron
   PTX-0256         FPM-00025817                                    Presentation titled, "Board Meeting Q2 2018" dated Aug 2, 2018.               Punitive Damages    Eshkar, Ramon;
                                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                                      Gil, Sarit Bizinsky;
                                                                                                                                                                      Shohat, Yaron




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   PTX-0257              FPM-00025941                                        Presentation titled, "Q Technologies - Product and Sales" dated May 9, 2018. Punitive Damages    Eshkar, Ramon;
                                                                                                                                                                              Gazneli, Tamir;
                                                                                                                                                                              Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0258              FPM-00026827                                        Presentation titled, "NSO Lender Presentation" dated Mar 8, 2019.           Punitive Damages     Eshkar, Ramon;
                                                                                                                                                                              Gazneli, Tamir;
                                                                                                                                                                              Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0259              JEFF00007831                                        Presentation titled, "NSO (Project Northpole)" dated Jan, 2019.             Punitive Damages     Eshkar, Ramon;
                                                                                                                                                                              Gazneli, Tamir;
                                                                                                                                                                              Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0260              JEFF00008212                                        Document titled, "NSO Confidential Information Memorandum" dated Mar,       Punitive Damages     Eshkar, Ramon;
                                                                             2019.                                                                                            Gazneli, Tamir;
                                                                                                                                                                              Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0261              JEFF00008308                                        Spreadsheet titled, "2019 04 03 - NSO - Q&A Tracker_v24" dated Apr 3,       Punitive Damages     Eshkar, Ramon;
                                                                             2019.                                                                                            Gazneli, Tamir;
                                                                                                                                                                              Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0262         NSO_WHATSAPP_00000001                                    Document titled, "NSO Group Technologies Ltd. Consolidated financial        Punitive Damages     Eshkar, Ramon;
                                                                             statements for December 31, 2018 in thousands of U.S. Dollars" (including                        Gazneli, Tamir;
                                                                             certified translation from Hebrew to English) dated Dec 31, 2018.                                Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0263         NSO_WHATSAPP_00000018                                    Document titled, "Q Cyber Technologies Ltd. Consolidated financial          Punitive Damages     Eshkar, Ramon;
                                                                             statements for December 31, 2018 in thousands of U.S. Dollars" (with                             Gazneli, Tamir;
                                                                             certified translation from Hebrew to English) dated Dec 31, 2018.                                Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0264         NSO_WHATSAPP_00000034                                    Document titled, "NSO Group Technologies Ltd. Consolidated financial        Punitive Damages     Eshkar, Ramon;
                                                                             statements for December 31, 2019 in thousands of U.S. Dollars" (with                             Gazneli, Tamir;
                                                                             certified translation from Hebrew to English) dated Dec 31, 2019.                                Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0265         NSO_WHATSAPP_00000053                                    Document titled, "Q Cyber Technologies Ltd. Consolidated financial          Punitive Damages     Eshkar, Ramon;
                                                                             statements for December 31, 2019 in thousands of U.S. Dollars" (with                             Gazneli, Tamir;
                                                                             certified translation from Hebrew to English) dated Dec 31, 2019.                                Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0266         NSO_WHATSAPP_00000224                                    Document titled, "NSO Group Technologies Ltd. Consolidated financial        Punitive Damages     Eshkar, Ramon;
                                                                             statements for December 31, 2020 in thousands of U.S. Dollars" (with                             Gazneli, Tamir;
                                                                             certified translation from Hebrew to English) dated Dec 31, 2020.                                Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0267         NSO_WHATSAPP_00000243                                    Document titled, "Q Cyber Technologies Ltd. Consolidated financial          Punitive Damages     Eshkar, Ramon;
                                                                             statements for December 31, 2020 in thousands of U.S. Dollars" (with                             Gazneli, Tamir;
                                                                             certified translation from Hebrew to English) dated Dec 31, 2020.                                Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0268         NSO_WHATSAPP_00045764                                    Document titled, "Triangle Holdings S.A. Consolidated Financial Statements" Punitive Damages     Eshkar, Ramon;
                                                                             dated Dec 31, 2018.                                                                              Gazneli, Tamir;
                                                                                                                                                                              Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0269         NSO_WHATSAPP_00045797                                    Document titled, "Triangle Holdings S.A. Consolidated Financial Statements" Punitive Damages     Eshkar, Ramon;
                                                                             dated Dec 31, 2019.                                                                              Gazneli, Tamir;
                                                                                                                                                                              Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron




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   PTX-0270         NSO_WHATSAPP_00045828                                Document titled, "Triangle Holdings S.A. Consolidated Financial Statements" Punitive Damages              Eshkar, Ramon;
                                                                         dated Dec 31, 2020.                                                                                       Gazneli, Tamir;
                                                                                                                                                                                   Gil, Sarit Bizinsky;
                                                                                                                                                                                   Shohat, Yaron
   PTX-0271            TREOAM00000219                                    Ernst & Young presentation titled, "Project Umbra Sell-Side Diligence -           Punitive Damages        Eshkar, Ramon;
                                                                         Reliance Restricted" regarding Triangle Holdings S.A. dated Jun 22, 2021.                                 Gazneli, Tamir;
                                                                                                                                                                                   Gil, Sarit Bizinsky;
                                                                                                                                                                                   Shohat, Yaron
   PTX-0272            TREOAM00000314                                    Spreadsheet containing financial information and projections regarding the        Punitive Damages        Eshkar, Ramon;
                                                                         "Mobile Intelligence business line" for the period 2018 through 2026.                                     Gazneli, Tamir;
                                                                                                                                                                                   Gil, Sarit Bizinsky;
                                                                                                                                                                                   Shohat, Yaron
   PTX-0273            TREOAM00005208                                    Presentation titled, "NSO Company Overview" dated Aug 9, 2023.                    Punitive Damages        Eshkar, Ramon;
                                                                                                                                                                                   Gazneli, Tamir;
                                                                                                                                                                                   Gil, Sarit Bizinsky;
                                                                                                                                                                                   Shohat, Yaron
   PTX-0274                                                              INTENTIONALLY OMITTED
   PTX-0275            WA-NSO-00017152                                   Spreadsheet of victim information data relating to the May 2019 exploit dated Compensatory Damages        Gheorghe, Claudiu;
                                                                         Sep 21, 2023.                                                                                             Robinson, Drew;
                                                                                                                                                                                   Woog, Carl
   PTX-0276            WA-NSO-00018445                                   Document titled "T44191245 Master task for SEV S178165" dated May 9,              Compensatory Damages;   Gheorghe, Claudiu
                                                                         2019.                                                                             Punitive Damages
   PTX-0277                                                              INTENTIONALLY OMITTED
   PTX-0278            WA-NSO-00020306                                   Document titled "T44019656 Log all the large RTCP packets in edgeray"             Compensatory Damages;   Gheorghe, Claudiu
                                                                         dated May 6, 2019.                                                                Punitive Damages
   PTX-0279            WA-NSO-00060597                                   Document titled "T44020395 Crashlog: find similar crashes from S178165 in         Compensatory Damages;   Gheorghe, Claudiu
                                                                         the past" dated May 6, 2019.                                                      Punitive Damages
   PTX-0280            WA-NSO-00068791                                   Jefferies presentation titled, "Project NorthPole Introductory Materials" dated   Punitive Damages        Eshkar, Ramon;
                                                                         Jan, 2019.                                                                                                Gazneli, Tamir;
                                                                                                                                                                                   Gil, Sarit Bizinsky;
                                                                                                                                                                                   Shohat, Yaron
   PTX-0281            WA-NSO-00074412                                   Document titled, "NSO CBAM - Q&A" dated Mar, 2019.                                Punitive Damages        Eshkar, Ramon;
                                                                                                                                                                                   Gazneli, Tamir;
                                                                                                                                                                                   Gil, Sarit Bizinsky;
                                                                                                                                                                                   Shohat, Yaron
   PTX-0282            WA-NSO-00074999                                   Document titled, "NSO Confidential Information Memorandum" dated Mar,             Punitive Damages        Eshkar, Ramon;
                                                                         2019.                                                                                                     Gazneli, Tamir;
                                                                                                                                                                                   Gil, Sarit Bizinsky;
                                                                                                                                                                                   Shohat, Yaron
   PTX-0283            WA-NSO-00075486                                   Spreadsheet titled "2019 04 03 - NSO - Q&A Tracker_v24.xlsx" dated Apr 3, Punitive Damages                Eshkar, Ramon;
                                                                         2019.                                                                                                     Gazneli, Tamir;
                                                                                                                                                                                   Gil, Sarit Bizinsky;
                                                                                                                                                                                   Shohat, Yaron
   PTX-0284            WA-NSO-00105645                                   NSO Group presentation titled, "2021 Budget Plan" dated Aug 9, 2023.              Punitive Damages        Eshkar, Ramon;
                                                                                                                                                                                   Gazneli, Tamir;
                                                                                                                                                                                   Gil, Sarit Bizinsky;
                                                                                                                                                                                   Shohat, Yaron
   PTX-0285                                                              INTENTIONALLY OMITTED
   PTX-0286                                                              INTENTIONALLY OMITTED
   PTX-0287            WA-NSO-00192818                                   Meta employee financial data spreadsheet titled "120352.xlsx."                    Compensatory Damages    Business Records Certification
   PTX-0288            WA-NSO-00192819                                   Meta employee financial data spreadsheet titled "162228.xlsx."                    Compensatory Damages    Business Records Certification
   PTX-0289            WA-NSO-00192820                                   Meta employee financial data spreadsheet titled "166311.xlsx."                    Compensatory Damages    Business Records Certification
   PTX-0290            WA-NSO-00192821                                   Meta employee financial data spreadsheet titled "185550.xlsx."                    Compensatory Damages    Business Records Certification




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   PTX-0291         WA-NSO-00192822                                   Meta employee financial data spreadsheet titled "206732.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0292         WA-NSO-00192823                                   Meta employee financial data spreadsheet titled "230624.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0293         WA-NSO-00192824                                   Meta employee financial data spreadsheet titled "233942.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0294         WA-NSO-00192825                                   Meta employee financial data spreadsheet titled "306149.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0295         WA-NSO-00192826                                   Meta employee financial data spreadsheet titled "122015.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0296         WA-NSO-00192827                                   Meta employee financial data spreadsheet titled "122316.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0297         WA-NSO-00192828                                   Meta employee financial data spreadsheet titled "137286.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0298         WA-NSO-00192829                                   Meta employee financial data spreadsheet titled "140309.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0299         WA-NSO-00192830                                   Meta employee financial data spreadsheet titled "144545.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0300         WA-NSO-00192831                                   Meta employee financial data spreadsheet titled "145684.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0301         WA-NSO-00192832                                   Meta employee financial data spreadsheet titled "157935.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0302         WA-NSO-00192833                                   Meta employee financial data spreadsheet titled "158416.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0303         WA-NSO-00192834                                   Meta employee financial data spreadsheet titled "164204.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0304         WA-NSO-00192835                                   Meta employee financial data spreadsheet titled "170847.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0305         WA-NSO-00192836                                   Meta employee financial data spreadsheet titled "184310.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0306         WA-NSO-00192837                                   Meta employee financial data spreadsheet titled "185714.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0307         WA-NSO-00192838                                   Meta employee financial data spreadsheet titled "213690.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0308         WA-NSO-00192839                                   Meta employee financial data spreadsheet titled "221008.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0309         WA-NSO-00192840                                   Meta employee financial data spreadsheet titled "440200.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0310         WA-NSO-00192841                                   Meta employee financial data spreadsheet titled "103039.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0311         WA-NSO-00192842                                   Meta employee financial data spreadsheet titled "183618.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0312         WA-NSO-00192843                                   Meta employee financial data spreadsheet titled "203160.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0313         WA-NSO-00192844                                   Meta employee financial data spreadsheet titled "234066.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0314         WA-NSO-00192845                                   Meta employee financial data spreadsheet titled "120848.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0315         WA-NSO-00192846                                   Meta employee financial data spreadsheet titled "225064.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0316         WA-NSO-00192847                                   Meta employee financial data spreadsheet titled "287446.xlsx."              Compensatory Damages   Business Records Certification
   PTX-0317         WA-NSO-00192848                                   Meta employee financial data spreadsheet titled "Meta Personnel_2019        Compensatory Damages   Robinson, Drew;
                                                                      Box12DD and Bonus.xlsx."                                                                           Woog, Carl
   PTX-0318         WA-NSO-00192849                                   Meta employee financial data spreadsheet titled "Bonus - 2019 (PW =         Compensatory Damages   Robinson, Drew;
                                                                      Faceb0ok).xlsx."                                                                                   Woog, Carl
   PTX-0319         WA-NSO-00192850                                   Meta employee financial data spreadsheet titled "META_Grant_Award_2019      Compensatory Damages   Business Records Certification
                                                                      Activity_Report_ EE Target List (PW = equity).xlsx."

   PTX-0320         WA-NSO-00192851                                   Meta employee financial data spreadsheet titled "META_Vest Report_2019 Compensatory Damages        Business Records Certification
                                                                      Activity_Report_ EE Target List (PW = equity).xlsx."
   PTX-0321         WA-NSO-00192852                                   Meta employee financial data spreadsheet titled "META_Vest Report_2019 Compensatory Damages        Business Records Certification
                                                                      Activity_Report_ EE Target List_Three UK Individuals (PW = equity).xlsx."

   PTX-0322         WA-NSO-00192853                                   Meta employee financial data spreadsheet titled "Meta Personnel_2019        Compensatory Damages   Business Records Certification
                                                                      Box12DD and Bonus.xlsx."
   PTX-0323         WA-NSO-00192854          Pinsonneault Ex. 2092    Meta employee financial data spreadsheet titled "Copy of Meta Personnel     Compensatory Damages   Robinson, Drew;
                                                                      Responding to Attacks.xlsx."                                                                       Woog, Carl
   PTX-0324         WA-NSO-00192855                                   Meta employee financial data spreadsheet titled "Payroll Question -         Compensatory Damages   Business Records Certification
                                                                      Report.xlsx."
   PTX-0325                                                           INTENTIONALLY OMITTED
   PTX-0326                                                           INTENTIONALLY OMITTED
   PTX-0327                                                           INTENTIONALLY OMITTED
   PTX-0328                                                           WhatsApp Help Center website page titled "How to register your phone        Compensatory Damages   Robinson, Drew;
                                                                      number" https://faq.whatsapp.com/684051319521343/.                                                 Woog, Carl
   PTX-0329                                                           INTENTIONALLY OMITTED
   PTX-0330                                                           INTENTIONALLY OMITTED
   PTX-0331                                                           INTENTIONALLY OMITTED
   PTX-0332                                                           INTENTIONALLY OMITTED




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   PTX-0333                                                                 INTENTIONALLY OMITTED
   PTX-0334                                                                 INTENTIONALLY OMITTED
   PTX-0335                                                                 Company Incorporation Certificate issued by the State of Israel Ministry of   Background           Eshkar, Ramon;
                                                                            Justice Registrar of Companies regarding NSO Group Technologies Ltd.                               Gazneli, Tamir;
                                                                            (Company No. 514395409) dated Jan 24, 2010.                                                        Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron;
                                                                                                                                                                               Trexler, Dana.
   PTX-0336                                                                 Private Company Profile from S&P Capital IQ titled "NSO Group      Background                      Eshkar, Ramon;
                                                                            Technologies Ltd." and associated company documents                                                Gazneli, Tamir;
                                                                            https://www.capitaliq.com/CIQDotNeUcompany.aspx?companyld=25715248                                 Gil, Sarit Bizinsky;
                                                                            0&fromSearchProfiles=true.                                                                         Shohat, Yaron;
                                                                                                                                                                               Trexler, Dana.
   PTX-0337                                                                 INTENTIONALLY OMITTED
   PTX-0338         NSO_WHATSAPP_00000312                                   NSO internal Confluence record titled, "Android Product Management,           Punitive Damages     Eshkar, Ramon;
                                                                            Official Releases, 2.66.1 (Android)" dated Apr 30, 2018.                                           Gazneli, Tamir;
                                                                                                                                                                               Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0339         NSO_WHATSAPP_00008643                                   NSO internal Confluence record titled, "Covert Android Installation        Punitive Damages        Eshkar, Ramon;
                                                                            Specifications, Erised (Covert Android) System Architecture - DRAFT" dated                         Gazneli, Tamir;
                                                                            Aug 7, 2019.                                                                                       Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0340         NSO_WHATSAPP_00008971                                   NSO internal Confluence record titled, "Installations (aka Acquire), New      Punitive Damages     Eshkar, Ramon;
                                                                            Installation Wizard - UX doc" dated Jun 24, 2018.                                                  Gazneli, Tamir;
                                                                                                                                                                               Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0341         NSO_WHATSAPP_00009363                                   NSO internal Confluence record titled, "Integrated Products, Covert Config - Punitive Damages      Eshkar, Ramon;
                                                                            PGs, ABS" dated Jun 4, 2020.                                                                       Gazneli, Tamir;
                                                                                                                                                                               Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0342                                                                 INTENTIONALLY OMITTED
   PTX-0343                                                                 INTENTIONALLY OMITTED
   PTX-0344                                                                 INTENTIONALLY OMITTED
   PTX-0345                                                                 INTENTIONALLY OMITTED
   PTX-0346                                                                 Meta Transparency Center website page titled "How Meta enforces its        Compensatory Damages;   Woog, Carl
                                                                            policies" https://transparency.meta.com/enforcement/.                      Punitive Damages
   PTX-0347                                                                 WhatsApp Help Center website page titled "About community admin            Compensatory Damages;   Woog, Carl
                                                                            controls" https://faq.whatsapp.com/1905967136259857.                       Punitive Damages
   PTX-0348                                                                 Meta Transparency Center website page titled "Government Requests for User Punitive Damages        Woog, Carl
                                                                            Data" https://transparency.meta.com/reports/government-data-requests.

   PTX-0349                                                                 Apple website page titled, "WhatsApp Messenger on the App Store"              Punitive Damages     Woog, Carl
                                                                            https://apps.apple.com/us/app/whatsapp-messenger/id310633997.
   PTX-0350                                                                 INTENTIONALLY OMITTED
   PTX-0351                                                                 INTENTIONALLY OMITTED
   PTX-0352                                                                 INTENTIONALLY OMITTED
   PTX-0353                                                                 INTENTIONALLY OMITTED
   PTX-0354                                                                 INTENTIONALLY OMITTED
   PTX-0355                                                                 INTENTIONALLY OMITTED
   PTX-0356                                                                 INTENTIONALLY OMITTED
   PTX-0357                                                                 INTENTIONALLY OMITTED
   PTX-0358                                                                 INTENTIONALLY OMITTED
   PTX-0359                                                                 INTENTIONALLY OMITTED
   PTX-0360                                                                 INTENTIONALLY OMITTED




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   PTX-0361                                                                 INTENTIONALLY OMITTED
   PTX-0362                                                                 INTENTIONALLY OMITTED
   PTX-0363                                                                 INTENTIONALLY OMITTED
   PTX-0364                                                                 White House Media Statement titled, “FACT SHEET: President Biden Signs Punitive Damages          Vance, Anthony
                                                                            Executive Order to Prohibit U.S. Government Use of Commercial Spyware
                                                                            that Poses Risks to National Security,” https://www.whitehouse.gov/briefing-
                                                                            room/statements-releases/2023/03/27/fact-sheet-president-biden-signs-
                                                                            executive-order-to-prohibit-u-s-government-use-of-commercial-spyware-that-
                                                                            poses-risks-to-national-security/ dated Mar 27, 2023.

   PTX-0365                                                                 U.S. Department of Commerce press release titled, “Commerce Adds NSO          Punitive Damages   Vance, Anthony
                                                                            Group and Other Foreign Companies to Entity List for Malicious Cyber
                                                                            Activities” https://www.commerce.gov/news/press-
                                                                            releases/2021/11/commerce-adds-nso-group-and-other-foreign-companies-
                                                                            entity-list dated Nov 3, 2021.
   PTX-0366                                                                 Federal Register document titled, “Addition of Certain Entities to the Entity Punitive Damages   Vance, Anthony
                                                                            List” https://www.federalregister.gov/documents/2021/11/04/2021-
                                                                            24123/addition-of-certainentities-to-the-entity-list dated Nov 4, 2021.
   PTX-0367                                                                 INTENTIONALLY OMITTED
   PTX-0368                                                                 INTENTIONALLY OMITTED
   PTX-0369                                                                 INTENTIONALLY OMITTED
   PTX-0370         NSO_WHATSAPP_00000870                                   NSO internal Confluence record titled, "Covert Android Installation           Punitive Damages   Eshkar, Ramon;
                                                                            Specifications, Erised (Covert Android) System Architecture - DRAFT" dated                       Gazneli, Tamir;
                                                                            Aug 7, 2019.                                                                                     Gil, Sarit Bizinsky;
                                                                                                                                                                             Shohat, Yaron
   PTX-0371         NSO_WHATSAPP_00008832                                   NSO internal document titled, "System Shutdown protocol" dated Undated.     Punitive Damages     Eshkar, Ramon;
                                                                                                                                                                             Gazneli, Tamir;
                                                                                                                                                                             Gil, Sarit Bizinsky;
                                                                                                                                                                             Shohat, Yaron
   PTX-0372         NSO_WHATSAPP_00008922                                   NSO internal document titled, "Eden - Archive only" dated Apr 10, 2019.     Punitive Damages     Eshkar, Ramon;
                                                                                                                                                                             Gazneli, Tamir;
                                                                                                                                                                             Gil, Sarit Bizinsky;
                                                                                                                                                                             Shohat, Yaron
   PTX-0373         NSO_WHATSAPP_00008923                                   NSO internal Confluence record titled, "Eden, Eden debug" dated Apr 30,     Punitive Damages     Eshkar, Ramon;
                                                                            2019.                                                                                            Gazneli, Tamir;
                                                                                                                                                                             Gil, Sarit Bizinsky;
                                                                                                                                                                             Shohat, Yaron
   PTX-0374            WA-NSO-00195078                                      Pegasus computer code file (api.py).                                        Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                             Robinson, Drew;
                                                                                                                                                                             Gazneli, Tamir;
                                                                                                                                                                             Youssef, David.
   PTX-0375            WA-NSO-00195079                                      Pegasus computer code file (client.py).                                     Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                             Robinson, Drew;
                                                                                                                                                                             Gazneli, Tamir;
                                                                                                                                                                             Youssef, David.
   PTX-0376            WA-NSO-00195285                                      Pegasus computer code file (exploit.py).                                    Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                             Robinson, Drew;
                                                                                                                                                                             Gazneli, Tamir;
                                                                                                                                                                             Youssef, David.
   PTX-0377            WA-NSO-00195283                                      Pegasus computer code file (consts.py).                                     Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                             Robinson, Drew;
                                                                                                                                                                             Gazneli, Tamir;
                                                                                                                                                                             Youssef, David.




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   PTX-0378         WA-NSO-00195083                                   Pegasus computer code file (fingerprint.py).                 Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0379         WA-NSO-00195084                                   Pegasus computer code file (full_fingerprint.py).            Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0380         WA-NSO-00195085                                   Pegasus computer code file (funxmpp.py).                     Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0381         WA-NSO-00195086                                   Pegasus computer code file (helloworld.py).                  Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0382         WA-NSO-00195087                                   Pegasus computer code file (leak_tests.py).                  Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0383         WA-NSO-00195088                                   Pegasus computer code file (noise_pb2.py).                   Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0384         WA-NSO-00195089                                   Pegasus computer code file (plane.py).                       Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0385         WA-NSO-00195090                                   Pegasus computer code file (protocol.py).                    Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0386         WA-NSO-00195091                                   Pegasus computer code file (reason.py).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0387         WA-NSO-00195092                                   Pegasus computer code file (relay.py).                       Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0388         WA-NSO-00195093                                   Pegasus computer code file (send_text_message.py).           Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0389         WA-NSO-00195094                                   Pegasus computer code file (server.py).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.
   PTX-0390         WA-NSO-00195154                                   Pegasus computer code file (server.py).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                       Robinson, Drew;
                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                       Youssef, David.




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                   Description                          Purpose        Sponsoring Witness(es)
   PTX-0391         WA-NSO-00195174                                   Pegasus computer code file (server.py).                    Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0392         WA-NSO-00195095                                   Pegasus computer code file (server_1.py).                  Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0393         WA-NSO-00195096                                   Pegasus computer code file (server_2.py).                  Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0394         WA-NSO-00195097                                   Pegasus computer code file (server_3.py).                  Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0395         WA-NSO-00195098                                   Pegasus computer code file (signaling.py).                 Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0396         WA-NSO-00195186                                   Pegasus computer code file (signaling.py).                 Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0397         WA-NSO-00195213                                   Pegasus computer code file (signaling.py).                 Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0398         WA-NSO-00195290                                   Pegasus computer code file (signaling.py).                 Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0399         WA-NSO-00195099                                   Pegasus computer code file (signaling_tests.py).           Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0400         WA-NSO-00195100                                   Pegasus computer code file (silent_fingerprint.py).        Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0401         WA-NSO-00195151                                   Pegasus computer code file (silent_fingerprint.py).        Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0402         WA-NSO-00195296                                   Pegasus computer code file (silent_fingerprint.py).        Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0403         WA-NSO-00195101                                   Pegasus computer code file (sparrow_test.py).              Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.




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   PTX-0404              WA-NSO-00195102                                   Pegasus computer code file (stun.py).                                   Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0405              WA-NSO-00195214                                   Pegasus computer code file (stun.py).                                   Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0406              WA-NSO-00195103                                   Pegasus computer code file (test.py).                                   Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0407              WA-NSO-00195104                                   Pegasus computer code file (tester.py).                                 Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0408              WA-NSO-00195105                                   Pegasus computer code file (tester_config.py).                          Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0409              WA-NSO-00195106                                   Pegasus computer code file (timer_heap_tests.py).                       Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0410              WA-NSO-00195107                                   Pegasus computer code file (txcache_tests.py).                          Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0411              WA-NSO-00195276                                   Pegasus computer code file (Security Certificate).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0412              WA-NSO-00195236                                   Pegasus computer code file (abs.log).                                   Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0413              WA-NSO-00195261                                   Pegasus computer code file (config.json).                               Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0414              WA-NSO-00017131                                   Pegasus computer code file (wis.log.2019-01-17).                        Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0415              WA-NSO-00017140                                   Pegasus computer code file (wis.log.2018-12-11).                        Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                                       Robinson, Drew;
                                                                                                                                                                       Gazneli, Tamir;
                                                                                                                                                                       Youssef, David.
   PTX-0416         SHANER_WHATSAPP_00001476                               WhatsApp messages between J. Shaner and Anton, et al. dated May 7, 2019. Punitive Damages   Shaner, Joshua

   PTX-0417                                                                INTENTIONALLY OMITTED




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   PTX-0418                                                                  WhatsApp website page titled, "WhatsApp: How to Get Started on WhatsApp Compensatory Damages      Robinson, Drew;
                                                                             Messenger" https://www.whatsapp.com/coronavirus/get-started.                                      Woog, Carl

   PTX-0419                                                                  WhatsApp Terms of Service dated Aug 25, 2016.                             Compensatory Damages;   Robinson, Drew;
                                                                                                                                                       Punitive Damages        Woog, Carl
   PTX-0420                                                                  WhatsApp website page titled, "Archive: WhatsApp Terms of Service -       Compensatory Damages;   Robinson, Drew;
                                                                             Revisions" https://www.whatsapp.com/legal/terms-of-service/revisions.     Punitive Damages        Woog, Carl
   PTX-0421                                                                  WhatsApp Terms of Service dated Jan 4, 2021.                              Compensatory Damages;   Robinson, Drew;
                                                                                                                                                       Punitive Damages        Woog, Carl
   PTX-0422              WA-NSO-00017184                                     WhatsApp Terms of Service dated Apr 24, 2018.                             Compensatory Damages;   Robinson, Drew;
                                                                                                                                                       Punitive Damages        Woog, Carl
   PTX-0423                                                                  INTENTIONALLY OMITTED
   PTX-0424          NSO_WHATSAPP_00008648                                   Presentation titled, "System Roles."                                      Punitive Damages        Eshkar, Ramon;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0425         SHANER_WHATSAPP_00001194                                 WhatsApp messages between J. Shaner and C. Nehustan dated Feb 4, 2019.    Punitive Damages        Shaner, Joshua

   PTX-0426              WA-NSO-00017132                                     Pegasus computer code file (wis.log.2019-01-24).                          Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0427              WA-NSO-00017134                                     Pegasus computer code file (wis.log).                                     Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0428              WA-NSO-00194923                                     WhatsApp document titled, "Analyzing Scripts."                            Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew
   PTX-0429              WA-NSO-00195178                                     Pegasus computer code file (api.py).                                      Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0430              WA-NSO-00195281                                     Pegasus computer code file (api.py).                                      Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0431              WA-NSO-00195134                                     Pegasus computer code file (client.py).                                   Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0432              WA-NSO-00195147                                     Pegasus computer code file (fingerprint.py).                              Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0433              WA-NSO-00195222                                     Pegasus computer code file (fingerprint.py).                              Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0434              WA-NSO-00195292                                     Pegasus computer code file (fingerprint.py).                              Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                    Description                          Purpose        Sponsoring Witness(es)
   PTX-0435         WA-NSO-00195148                                   Pegasus computer code file (full_fingerprint.py).           Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0436         WA-NSO-00195293                                   Pegasus computer code file (full_fingerprint.py).           Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0437         WA-NSO-00195136                                   Pegasus computer code file (funxmpp.py).                    Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0438         WA-NSO-00195208                                   Pegasus computer code file (funxmpp.py).                    Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0439         WA-NSO-00195267                                   Pegasus computer code file (funxmpp.py).                    Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0440         WA-NSO-00195149                                   Pegasus computer code file (helloworld.py).                 Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0441         WA-NSO-00195294                                   Pegasus computer code file (helloworld.py).                 Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0442         WA-NSO-00195138                                   Pegasus computer code file (noise_pb2.py).                  Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0443         WA-NSO-00195210                                   Pegasus computer code file (noise_pb2.py).                  Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0444         WA-NSO-00195269                                   Pegasus computer code file (noise_pb2.py).                  Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0445         WA-NSO-00195183                                   Pegasus computer code file (plane.py).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0446         WA-NSO-00195211                                   Pegasus computer code file (plane.py).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.
   PTX-0447         WA-NSO-00195286                                   Pegasus computer code file (plane.py).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                      Robinson, Drew;
                                                                                                                                                      Gazneli, Tamir;
                                                                                                                                                      Youssef, David.




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   PTX-0448              WA-NSO-00195139                                   Pegasus computer code file (protocol.py).                                   Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew;
                                                                                                                                                                            Gazneli, Tamir;
                                                                                                                                                                            Youssef, David.
   PTX-0449              WA-NSO-00195212                                   Pegasus computer code file (protocol.py).                                   Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew;
                                                                                                                                                                            Gazneli, Tamir;
                                                                                                                                                                            Youssef, David.
   PTX-0450              WA-NSO-00195270                                   Pegasus computer code file (protocol.py).                                   Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew;
                                                                                                                                                                            Gazneli, Tamir;
                                                                                                                                                                            Youssef, David.
   PTX-0451              WA-NSO-00195184                                   Pegasus computer code file (reason.py).                                     Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew;
                                                                                                                                                                            Gazneli, Tamir;
                                                                                                                                                                            Youssef, David.
   PTX-0452              WA-NSO-00195287                                   Pegasus computer code file (reason.py).                                     Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew;
                                                                                                                                                                            Gazneli, Tamir;
                                                                                                                                                                            Youssef, David.
   PTX-0453              WA-NSO-00195128                                   Pegasus computer code file (send_text_message.py).                          Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew;
                                                                                                                                                                            Gazneli, Tamir;
                                                                                                                                                                            Youssef, David.
   PTX-0454              WA-NSO-00195150                                   Pegasus computer code file (send_text_message.py).                          Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew;
                                                                                                                                                                            Gazneli, Tamir;
                                                                                                                                                                            Youssef, David.
   PTX-0455              WA-NSO-00195223                                   Pegasus computer code file (send_text_message.py).                          Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew;
                                                                                                                                                                            Gazneli, Tamir;
                                                                                                                                                                            Youssef, David.
   PTX-0456              WA-NSO-00195295                                   Pegasus computer code file (send_text_message.py).                          Punitive Damages     Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew;
                                                                                                                                                                            Gazneli, Tamir;
                                                                                                                                                                            Youssef, David.
   PTX-0457         SHANER_WHATSAPP_00001100                               WhatsApp messages between J. Shaner and T. Timor, et al. dated Dec 5,      Punitive Damages      Shaner, Joshua
                                                                           2018.
   PTX-0458                                                                Publication by the National Institute of Standards and Technology (NIST),  Punitive Damages      Vance, Anthony
                                                                           U.S. Department of Commerce, titled "Special Publication 800-154: Guide to
                                                                           Data-Centric System Threat Modeling"
                                                                           https://csrc.nist.gov/pubs/sp/800/154/ipd dated Mar, 2016.
   PTX-0459         SHANER_WHATSAPP_00001102                               WhatsApp messages between J. Shaner and J. Shuman dated Dec 7, 2018.       Punitive Damages      Shaner, Joshua

   PTX-0460         SHANER_WHATSAPP_00001478                               Screenshot titled "Installation Status" for "Joao Pedro +51937742505" sent by Punitive Damages   Shaner, Joshua
                                                                           'Martin' to a WhatsApp group chat including J. Shaner (see PXT-0416) dated
                                                                           May 7, 2019.
   PTX-0461         SHANER_WHATSAPP_00001411                               WhatsApp messages between J. Shaner and E. Shachar, et al. dated Apr 15,      Punitive Damages   Shaner, Joshua
                                                                           2019.
   PTX-0462              WA-NSO-00016957                                   Pegasus computer code file (full_fingerprint.py).                             Punitive Damages   Gheorghe, Claudiu;
                                                                                                                                                                            Robinson, Drew;
                                                                                                                                                                            Gazneli, Tamir;
                                                                                                                                                                            Youssef, David.




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   PTX-0463         WA-NSO-00017089                                   Pegasus computer code file (full_fingerprint.py).          Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0464         WA-NSO-00017133                                   Pegasus computer code file (heaven.log).                   Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0465         WA-NSO-00016436                                   Pegasus computer code file (wis.log).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0466         WA-NSO-00016505                                   Pegasus computer code file (protocol.py).                  Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0467         WA-NSO-00017151                                   Pegasus computer code file (abs.log).                      Punitive Damages    Gheorghe, Claudiu;
                                                                                                                                                     Robinson, Drew;
                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                     Youssef, David.
   PTX-0468                                                           INTENTIONALLY OMITTED
   PTX-0469                                                           INTENTIONALLY OMITTED
   PTX-0470                                                           INTENTIONALLY OMITTED
   PTX-0471                                                           INTENTIONALLY OMITTED
   PTX-0472                                                           INTENTIONALLY OMITTED
   PTX-0473                                                           INTENTIONALLY OMITTED
   PTX-0474                                                           INTENTIONALLY OMITTED
   PTX-0475                                                           INTENTIONALLY OMITTED
   PTX-0476                                                           INTENTIONALLY OMITTED
   PTX-0477                                                           INTENTIONALLY OMITTED
   PTX-0478                                                           INTENTIONALLY OMITTED
   PTX-0479                                                           INTENTIONALLY OMITTED
   PTX-0480                                                           INTENTIONALLY OMITTED
   PTX-0481                                                           INTENTIONALLY OMITTED
   PTX-0482                                                           INTENTIONALLY OMITTED
   PTX-0483                                                           INTENTIONALLY OMITTED
   PTX-0484                                                           INTENTIONALLY OMITTED
   PTX-0485                                                           INTENTIONALLY OMITTED
   PTX-0486                                                           INTENTIONALLY OMITTED
   PTX-0487                                                           INTENTIONALLY OMITTED
   PTX-0488                                                           INTENTIONALLY OMITTED
   PTX-0489                                                           INTENTIONALLY OMITTED
   PTX-0490                                                           INTENTIONALLY OMITTED
   PTX-0491                                                           INTENTIONALLY OMITTED
   PTX-0492                                                           INTENTIONALLY OMITTED
   PTX-0493                                                           INTENTIONALLY OMITTED
   PTX-0494                                                           INTENTIONALLY OMITTED
   PTX-0495                                                           INTENTIONALLY OMITTED
   PTX-0496                                                           INTENTIONALLY OMITTED
   PTX-0497                                                           INTENTIONALLY OMITTED
   PTX-0498                                                           INTENTIONALLY OMITTED
   PTX-0499                                                           INTENTIONALLY OMITTED
   PTX-0500                                                           INTENTIONALLY OMITTED




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Trial Exhibit No.             Bates No.               Deposition Exhibit No.                                  Description                                            Purpose            Sponsoring Witness(es)
   PTX-0501                                                                    INTENTIONALLY OMITTED
   PTX-0502                                                                    INTENTIONALLY OMITTED
   PTX-0503                                                                    INTENTIONALLY OMITTED
   PTX-0504                                                                    INTENTIONALLY OMITTED
   PTX-0505                                                                    INTENTIONALLY OMITTED
   PTX-0506                                                                    INTENTIONALLY OMITTED
   PTX-0507                                                                    INTENTIONALLY OMITTED
   PTX-0508                                                                    INTENTIONALLY OMITTED
   PTX-0509                                                                    INTENTIONALLY OMITTED
   PTX-0510                                                                    INTENTIONALLY OMITTED
   PTX-0511                                                                    INTENTIONALLY OMITTED
   PTX-0512                                                                    INTENTIONALLY OMITTED
   PTX-0513                                                                    INTENTIONALLY OMITTED
   PTX-0514                                                                    INTENTIONALLY OMITTED
   PTX-0515                                                                    INTENTIONALLY OMITTED
   PTX-0516                                                                    INTENTIONALLY OMITTED
   PTX-0517                                                                    INTENTIONALLY OMITTED
   PTX-0518                                                                    INTENTIONALLY OMITTED
   PTX-0519                                                                    INTENTIONALLY OMITTED
   PTX-0520                                                                    INTENTIONALLY OMITTED
   PTX-0521                                                                    INTENTIONALLY OMITTED
   PTX-0522         WESTBRIDGE_WHATSAPP_00000659                               Email from S. Elbaz to 'QA' NSO Group email distribution list regarding, "IM Background; Punitive   Shaner, Joshua
                                                                               Versions" dated Nov 23, 2015.                                                Damages
   PTX-0523                WA-NSO-00016433                                     Screenshot of WhatsApp messages (in Hebrew) with Nir Livshitz dated May Punitive Damages            Eshkar, Ramon;
                                                                               20, 2019.                                                                                           Gazneli, Tamir;
                                                                                                                                                                                   Gil, Sarit Bizinsky;
                                                                                                                                                                                   Shohat, Yaron
   PTX-0524                WA-NSO-00016444                                     Pegasus computer code file (caller_config.xml).                             Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                   Robinson, Drew;
                                                                                                                                                                                   Gazneli, Tamir;
                                                                                                                                                                                   Youssef, David.
   PTX-0525                WA-NSO-00016445                                     Pegasus computer code file (reason.py).                                     Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                   Robinson, Drew;
                                                                                                                                                                                   Gazneli, Tamir;
                                                                                                                                                                                   Youssef, David.
   PTX-0526                WA-NSO-00016446                                     Pegasus computer code file (wa.proto).                                      Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                   Robinson, Drew;
                                                                                                                                                                                   Gazneli, Tamir;
                                                                                                                                                                                   Youssef, David.
   PTX-0527                WA-NSO-00016451                                     Pegasus computer code file (noise_pb2.py).                                  Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                   Robinson, Drew;
                                                                                                                                                                                   Gazneli, Tamir;
                                                                                                                                                                                   Youssef, David.
   PTX-0528                WA-NSO-00016472                                     Pegasus computer code file (config.json.example).                           Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                   Robinson, Drew;
                                                                                                                                                                                   Gazneli, Tamir;
                                                                                                                                                                                   Youssef, David.
   PTX-0529                WA-NSO-00016473                                     Pegasus computer code file (wis_certificate.pem).                           Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                                   Robinson, Drew;
                                                                                                                                                                                   Gazneli, Tamir;
                                                                                                                                                                                   Youssef, David.




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                   Description                           Purpose            Sponsoring Witness(es)
   PTX-0530         WA-NSO-00016478                                   Pegasus computer code file (noise.proto).                   Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                          Robinson, Drew;
                                                                                                                                                          Gazneli, Tamir;
                                                                                                                                                          Youssef, David.
   PTX-0531         WA-NSO-00016481                                   Pegasus computer code file (utils.py).                      Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                          Robinson, Drew;
                                                                                                                                                          Gazneli, Tamir;
                                                                                                                                                          Youssef, David.
   PTX-0532         WA-NSO-00016486                                   Pegasus computer code file (utils.backup.py).               Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                          Robinson, Drew;
                                                                                                                                                          Gazneli, Tamir;
                                                                                                                                                          Youssef, David.
   PTX-0533         WA-NSO-00016495                                   Pegasus computer code file (plane.py).                      Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                          Robinson, Drew;
                                                                                                                                                          Gazneli, Tamir;
                                                                                                                                                          Youssef, David.
   PTX-0534         WA-NSO-00016499                                   Pegasus computer code file (wis.service).                   Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                          Robinson, Drew;
                                                                                                                                                          Gazneli, Tamir;
                                                                                                                                                          Youssef, David.
   PTX-0535         WA-NSO-00017212                                   WhatsApp log file (logs_2019-04-24_10_22_29.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0536         WA-NSO-00017213                                   WhatsApp log file (logs_2019-04-28_11_27_58.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0537         WA-NSO-00017215                                   WhatsApp log file (logs_2019-04-30_05_51_12.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0538         WA-NSO-00017216                                   WhatsApp log file (logs_2019-05-03_15_48_44.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0539         WA-NSO-00017217                                   WhatsApp log file (logs_2019-04-29_04_16_58.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0540         WA-NSO-00017218                                   WhatsApp log file (logs_2019-05-02_06_38_53.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0541         WA-NSO-00017219                                   WhatsApp log file (logs_2019-04-24_09_48_04.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0542         WA-NSO-00017220                                   WhatsApp log file (logs_2019-04-30_07_15_25.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0543         WA-NSO-00017221                                   WhatsApp log file (logs_2019-05-07_05_55_29.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0544         WA-NSO-00017222                                   WhatsApp log file (logs_2019-04-21_18_06_23.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0545         WA-NSO-00017223                                   WhatsApp log file (logs_2019-04-21_17_59_56.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0546         WA-NSO-00017224                                   WhatsApp log file (logs_2019-05-01_19_12_46.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0547         WA-NSO-00017225                                   WhatsApp log file (logs_2019-04-24_23_20_07.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0548         WA-NSO-00017226                                   WhatsApp log file (logs_2019-05-10_00_45_47.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0549         WA-NSO-00017227                                   WhatsApp log file (logs_2019-04-22_19_05_30.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages
   PTX-0550         WA-NSO-00017228                                   WhatsApp log file (logs_2019-04-24_23_14_35.txt).           Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                  Punitive Damages




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   PTX-0551         WA-NSO-00017229                                   WhatsApp log file (logs_2019-05-09_01_01_16.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0552         WA-NSO-00017230                                   WhatsApp log file (logs_2019-04-21_02_25_15.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0553         WA-NSO-00017231                                   WhatsApp log file (logs_2019-04-19_21_03_48.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0554         WA-NSO-00017232                                   WhatsApp log file (logs_2019-04-29_07_50_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0555         WA-NSO-00017233                                   WhatsApp log file (logs_2019-04-29_11_38_45.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0556         WA-NSO-00017234                                   WhatsApp log file (logs_2019-04-24_23_03_52.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0557         WA-NSO-00017235                                   WhatsApp log file (logs_2019-05-09_00_55_16.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0558         WA-NSO-00017236                                   WhatsApp log file (logs_2019-04-21_02_18_31.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0559         WA-NSO-00017237                                   WhatsApp log file (logs_2019-05-02_16_16_58.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0560         WA-NSO-00017238                                   WhatsApp log file (logs_2019-05-06_23_13_33.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0561         WA-NSO-00017239                                   WhatsApp log file (logs_2019-05-05_18_44_19.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0562         WA-NSO-00017240                                   WhatsApp log file (logs_2019-04-21_10_41_20.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0563         WA-NSO-00017241                                   WhatsApp log file (logs_2019-04-19_16_41_26.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0564         WA-NSO-00017242                                   WhatsApp log file (logs_2019-04-19_16_47_56.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0565         WA-NSO-00017243                                   WhatsApp log file (logs_2019-05-02_23_24_14.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0566         WA-NSO-00017244                                   WhatsApp log file (logs_2019-05-06_23_06_37.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0567         WA-NSO-00017245                                   WhatsApp log file (logs_2019-05-02_16_10_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0568         WA-NSO-00017246                                   WhatsApp log file (logs_2019-04-26_21_10_52.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0569         WA-NSO-00017247                                   WhatsApp log file (logs_2019-04-29_08_37_53.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0570         WA-NSO-00017248                                   WhatsApp log file (logs_2019-04-19_10_46_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0571         WA-NSO-00017249                                   WhatsApp log file (logs_2019-05-03_19_49_51.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0572         WA-NSO-00017250                                   WhatsApp log file (logs_2019-05-06_01_03_43.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0573         WA-NSO-00017251                                   WhatsApp log file (logs_2019-04-19_21_09_46.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0574         WA-NSO-00017252                                   WhatsApp log file (logs_2019-04-29_08_41_55.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0575         WA-NSO-00017253                                   WhatsApp log file (logs_2019-04-19_11_51_09.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0576         WA-NSO-00017254                                   WhatsApp log file (logs_2019-05-04_01_44_05.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                  Description                       Purpose           Sponsoring Witness(es)
   PTX-0577         WA-NSO-00017255                                   WhatsApp log file (logs_2019-05-06_02_44_33.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0578         WA-NSO-00017256                                   WhatsApp log file (logs_2019-05-03_18_01_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0579         WA-NSO-00017257                                   WhatsApp log file (logs_2019-04-25_19_06_26.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0580         WA-NSO-00017258                                   WhatsApp log file (logs_2019-04-22_17_57_06.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0581         WA-NSO-00017259                                   WhatsApp log file (logs_2019-05-01_16_14_11.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0582         WA-NSO-00017260                                   WhatsApp log file (logs_2019-04-24_03_45_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0583         WA-NSO-00017261                                   WhatsApp log file (logs_2019-04-19_05_26_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0584         WA-NSO-00017262                                   WhatsApp log file (logs_2019-05-02_18_17_38.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0585         WA-NSO-00017263                                   WhatsApp log file (logs_2019-05-05_23_23_29.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0586         WA-NSO-00017264                                   WhatsApp log file (logs_2019-05-07_07_36_45.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0587         WA-NSO-00017265                                   WhatsApp log file (logs_2019-05-01_07_19_00.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0588         WA-NSO-00017266                                   WhatsApp log file (logs_2019-04-30_02_10_37.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0589         WA-NSO-00017267                                   WhatsApp log file (logs_2019-05-02_20_32_18.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0590         WA-NSO-00017268                                   WhatsApp log file (logs_2019-05-07_05_19_20.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0591         WA-NSO-00017269                                   WhatsApp log file (logs_2019-04-22_03_50_16.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0592         WA-NSO-00017270                                   WhatsApp log file (logs_2019-05-06_02_07_22.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0593         WA-NSO-00017271                                   WhatsApp log file (logs_2019-04-28_05_43_35.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0594         WA-NSO-00017272                                   WhatsApp log file (logs_2019-04-26_09_02_23.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0595         WA-NSO-00017273                                   WhatsApp log file (logs_2019-04-26_06_50_46.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0596         WA-NSO-00017274                                   WhatsApp log file (logs_2019-04-28_06_12_05.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0597         WA-NSO-00017275                                   WhatsApp log file (logs_2019-04-28_06_06_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0598         WA-NSO-00017276                                   WhatsApp log file (logs_2019-05-05_20_29_20.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0599         WA-NSO-00017277                                   WhatsApp log file (logs_2019-04-18_15_33_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0600         WA-NSO-00017278                                   WhatsApp log file (logs_2019-04-29_04_33_09.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0601         WA-NSO-00017279                                   WhatsApp log file (logs_2019-04-28_08_50_15.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0602         WA-NSO-00017280                                   WhatsApp log file (logs_2019-05-05_23_17_33.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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   PTX-0603         WA-NSO-00017281                                   WhatsApp log file (logs_2019-04-28_17_58_54.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0604         WA-NSO-00017282                                   WhatsApp log file (logs_2019-05-07_05_25_25.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0605         WA-NSO-00017283                                   WhatsApp log file (logs_2019-04-29_01_35_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0606         WA-NSO-00017284                                   WhatsApp log file (logs_2019-04-28_11_22_52.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0607         WA-NSO-00017285                                   WhatsApp log file (logs_2019-04-25_23_08_45.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0608         WA-NSO-00017286                                   WhatsApp log file (logs_2019-04-22_13_42_27.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0609         WA-NSO-00017287                                   WhatsApp log file (logs_2019-05-03_15_37_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0610         WA-NSO-00017288                                   WhatsApp log file (logs_2019-05-06_04_10_29.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0611         WA-NSO-00017289                                   WhatsApp log file (logs_2019-05-01_08_41_55.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0612         WA-NSO-00017290                                   WhatsApp log file (logs_2019-05-02_20_26_10.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0613         WA-NSO-00017291                                   WhatsApp log file (logs_2019-04-29_01_05_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0614         WA-NSO-00017292                                   WhatsApp log file (logs_2019-05-09_12_31_00.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0615         WA-NSO-00017293                                   WhatsApp log file (logs_2019-05-02_01_27_18.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0616         WA-NSO-00017294                                   WhatsApp log file (logs_2019-04-24_08_02_28.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0617         WA-NSO-00017295                                   WhatsApp log file (logs_2019-04-30_02_23_52.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0618         WA-NSO-00017296                                   WhatsApp log file (logs_2019-04-22_03_20_10.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0619         WA-NSO-00017297                                   WhatsApp log file (logs_2019-05-02_04_43_35.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0620         WA-NSO-00017298                                   WhatsApp log file (logs_2019-05-02_19_33_48.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0621         WA-NSO-00017299                                   WhatsApp log file (logs_2019-04-29_10_17_11.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0622         WA-NSO-00017300                                   WhatsApp log file (logs_2019-04-29_12_51_51.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0623         WA-NSO-00017301                                   WhatsApp log file (logs_2019-04-29_12_53_54.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0624         WA-NSO-00017302                                   WhatsApp log file (logs_2019-05-01_20_59_46.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0625         WA-NSO-00017303                                   WhatsApp log file (logs_2019-05-02_03_38_46.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0626         WA-NSO-00017304                                   WhatsApp log file (logs_2019-04-24_01_05_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0627         WA-NSO-00017305                                   WhatsApp log file (logs_2019-04-29_10_23_54.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0628         WA-NSO-00017306                                   WhatsApp log file (logs_2019-05-02_19_29_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                  Description                       Purpose           Sponsoring Witness(es)
   PTX-0629         WA-NSO-00017307                                   WhatsApp log file (logs_2019-04-26_05_51_31.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0630         WA-NSO-00017308                                   WhatsApp log file (logs_2019-04-25_06_04_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0631         WA-NSO-00017309                                   WhatsApp log file (logs_2019-04-21_18_34_49.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0632         WA-NSO-00017310                                   WhatsApp log file (logs_2019-04-25_04_58_18.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0633         WA-NSO-00017311                                   WhatsApp log file (logs_2019-04-29_10_31_51.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0634         WA-NSO-00017312                                   WhatsApp log file (logs_2019-04-25_07_31_28.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0635         WA-NSO-00017313                                   WhatsApp log file (logs_2019-04-24_10_50_11.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0636         WA-NSO-00017314                                   WhatsApp log file (logs_2019-04-30_22_24_23.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0637         WA-NSO-00017315                                   WhatsApp log file (logs_2019-04-25_08_58_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0638         WA-NSO-00017316                                   WhatsApp log file (logs_2019-04-22_04_21_36.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0639         WA-NSO-00017317                                   WhatsApp log file (logs_2019-04-24_06_23_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0640         WA-NSO-00017318                                   WhatsApp log file (logs_2019-04-25_16_25_13.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0641         WA-NSO-00017319                                   WhatsApp log file (logs_2019-04-27_02_02_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0642         WA-NSO-00017320                                   WhatsApp log file (logs_2019-05-02_20_39_54.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0643         WA-NSO-00017321                                   WhatsApp log file (logs_2019-04-25_09_43_41.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0644         WA-NSO-00017322                                   WhatsApp log file (logs_2019-04-24_06_29_40.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0645         WA-NSO-00017323                                   WhatsApp log file (logs_2019-05-02_03_42_00.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0646         WA-NSO-00017324                                   WhatsApp log file (logs_2019-04-25_09_50_14.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0647         WA-NSO-00017325                                   WhatsApp log file (logs_2019-04-29_11_19_06.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0648         WA-NSO-00017326                                   WhatsApp log file (logs_2019-04-29_10_28_01.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0649         WA-NSO-00017327                                   WhatsApp log file (logs_2019-04-25_04_51_16.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0650         WA-NSO-00017328                                   WhatsApp log file (logs_2019-04-29_18_36_50.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0651         WA-NSO-00017329                                   WhatsApp log file (logs_2019-05-05_19_27_00.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0652         WA-NSO-00017330                                   WhatsApp log file (logs_2019-05-03_09_26_56.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0653         WA-NSO-00017331                                   WhatsApp log file (logs_2019-04-23_23_06_45.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0654         WA-NSO-00017332                                   WhatsApp log file (logs_2019-04-26_19_13_12.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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   PTX-0655         WA-NSO-00017333                                   WhatsApp log file (logs_2019-04-29_10_10_56.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0656         WA-NSO-00017334                                   WhatsApp log file (logs_2019-05-07_01_41_33.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0657         WA-NSO-00017335                                   WhatsApp log file (logs_2019-04-25_06_11_14.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0658         WA-NSO-00017336                                   WhatsApp log file (logs_2019-04-29_18_43_09.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0659         WA-NSO-00017337                                   WhatsApp log file (logs_2019-05-05_21_52_28.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0660         WA-NSO-00017338                                   WhatsApp log file (logs_2019-04-23_04_50_40.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0661         WA-NSO-00017339                                   WhatsApp log file (logs_2019-04-22_22_20_33.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0662         WA-NSO-00017340                                   WhatsApp log file (logs_2019-04-22_00_00_51.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0663         WA-NSO-00017341                                   WhatsApp log file (logs_2019-04-20_18_07_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0664         WA-NSO-00017342                                   WhatsApp log file (logs_2019-05-04_21_42_02.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0665         WA-NSO-00017343                                   WhatsApp log file (logs_2019-04-29_01_06_32.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0666         WA-NSO-00017344                                   WhatsApp log file (logs_2019-05-04_20_29_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0667         WA-NSO-00017345                                   WhatsApp log file (logs_2019-05-06_22_33_55.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0668         WA-NSO-00017346                                   WhatsApp log file (logs_2019-05-06_22_44_28.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0669         WA-NSO-00017347                                   WhatsApp log file (logs_2019-05-05_21_58_31.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0670         WA-NSO-00017348                                   WhatsApp log file (logs_2019-05-02_03_28_45.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0671         WA-NSO-00017349                                   WhatsApp log file (logs_2019-05-04_21_57_24.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0672         WA-NSO-00017350                                   WhatsApp log file (logs_2019-05-01_00_23_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0673         WA-NSO-00017351                                   WhatsApp log file (logs_2019-05-04_21_01_25.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0674         WA-NSO-00017352                                   WhatsApp log file (logs_2019-05-04_02_56_02.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0675         WA-NSO-00017353                                   WhatsApp log file (logs_2019-05-04_09_24_57.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0676         WA-NSO-00017354                                   WhatsApp log file (logs_2019-05-01_00_29_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0677         WA-NSO-00017355                                   WhatsApp log file (logs_2019-05-04_22_11_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0678         WA-NSO-00017356                                   WhatsApp log file (logs_2019-05-04_20_55_49.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0679         WA-NSO-00017357                                   WhatsApp log file (logs_2019-04-19_02_34_55.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0680         WA-NSO-00017358                                   WhatsApp log file (logs_2019-04-20_18_13_48.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                  Description                       Purpose           Sponsoring Witness(es)
   PTX-0681         WA-NSO-00017359                                   WhatsApp log file (logs_2019-05-09_02_04_38.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0682         WA-NSO-00017360                                   WhatsApp log file (logs_2019-05-09_13_24_05.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0683         WA-NSO-00017361                                   WhatsApp log file (logs_2019-05-04_21_30_10.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0684         WA-NSO-00017362                                   WhatsApp log file (logs_2019-04-23_22_43_15.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0685         WA-NSO-00017363                                   WhatsApp log file (logs_2019-04-23_22_20_28.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0686         WA-NSO-00017364                                   WhatsApp log file (logs_2019-05-04_21_51_09.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0687         WA-NSO-00017365                                   WhatsApp log file (logs_2019-04-29_14_54_32.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0688         WA-NSO-00017366                                   WhatsApp log file (logs_2019-04-29_15_00_29.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0689         WA-NSO-00017367                                   WhatsApp log file (logs_2019-04-22_22_14_19.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0690         WA-NSO-00017368                                   WhatsApp log file (logs_2019-05-04_20_05_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0691         WA-NSO-00017369                                   WhatsApp log file (logs_2019-05-08_08_14_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0692         WA-NSO-00017370                                   WhatsApp log file (logs_2019-04-27_14_02_54.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0693         WA-NSO-00017371                                   WhatsApp log file (logs_2019-05-04_22_17_09.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0694         WA-NSO-00017372                                   WhatsApp log file (logs_2019-05-05_22_08_39.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0695         WA-NSO-00017373                                   WhatsApp log file (logs_2019-04-23_02_47_44.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0696         WA-NSO-00017374                                   WhatsApp log file (logs_2019-04-27_00_36_41.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0697         WA-NSO-00017375                                   WhatsApp log file (logs_2019-04-25_08_46_19.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0698         WA-NSO-00017376                                   WhatsApp log file (logs_2019-04-30_03_45_26.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0699         WA-NSO-00017377                                   WhatsApp log file (logs_2019-04-23_23_12_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0700         WA-NSO-00017378                                   WhatsApp log file (logs_2019-05-02_13_14_41.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0701         WA-NSO-00017379                                   WhatsApp log file (logs_2019-05-07_06_02_16.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0702         WA-NSO-00017380                                   WhatsApp log file (logs_2019-04-26_08_12_02.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0703         WA-NSO-00017381                                   WhatsApp log file (logs_2019-05-06_08_22_10.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0704         WA-NSO-00017382                                   WhatsApp log file (logs_2019-04-30_16_21_02.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0705         WA-NSO-00017383                                   WhatsApp log file (logs_2019-04-21_03_54_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0706         WA-NSO-00017384                                   WhatsApp log file (logs_2019-05-06_13_35_48.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                  Description                       Purpose           Sponsoring Witness(es)
   PTX-0707         WA-NSO-00017385                                   WhatsApp log file (logs_2019-04-30_01_34_59.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0708         WA-NSO-00017386                                   WhatsApp log file (logs_2019-05-09_01_26_33.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0709         WA-NSO-00017387                                   WhatsApp log file (logs_2019-04-25_09_46_09.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0710         WA-NSO-00017388                                   WhatsApp log file (logs_2019-04-25_09_39_19.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0711         WA-NSO-00017389                                   WhatsApp log file (logs_2019-05-07_06_08_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0712         WA-NSO-00017390                                   WhatsApp log file (logs_2019-04-21_15_48_51.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0713         WA-NSO-00017391                                   WhatsApp log file (logs_2019-04-25_18_10_36.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0714         WA-NSO-00017392                                   WhatsApp log file (logs_2019-04-24_04_11_08.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0715         WA-NSO-00017393                                   WhatsApp log file (logs_2019-04-27_07_22_48.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0716         WA-NSO-00017394                                   WhatsApp log file (logs_2019-04-22_01_24_24.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0717         WA-NSO-00017395                                   WhatsApp log file (logs_2019-04-21_15_43_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0718         WA-NSO-00017396                                   WhatsApp log file (logs_2019-05-09_02_02_06.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0719         WA-NSO-00017397                                   WhatsApp log file (logs_2019-05-10_02_18_25.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0720         WA-NSO-00017398                                   WhatsApp log file (logs_2019-05-02_15_28_50.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0721         WA-NSO-00017399                                   WhatsApp log file (logs_2019-04-29_03_14_39.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0722         WA-NSO-00017400                                   WhatsApp log file (logs_2019-04-21_18_33_55.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0723         WA-NSO-00017401                                   WhatsApp log file (logs_2019-05-07_20_10_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0724         WA-NSO-00017402                                   WhatsApp log file (logs_2019-05-09_01_39_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0725         WA-NSO-00017403                                   WhatsApp log file (logs_2019-05-02_01_21_00.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0726         WA-NSO-00017404                                   WhatsApp log file (logs_2019-05-04_12_08_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0727         WA-NSO-00017405                                   WhatsApp log file (logs_2019-05-06_08_29_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0728         WA-NSO-00017406                                   WhatsApp log file (logs_2019-04-25_23_26_40.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0729         WA-NSO-00017407                                   WhatsApp log file (logs_2019-04-24_01_02_58.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0730         WA-NSO-00017408                                   WhatsApp log file (logs_2019-04-30_17_08_37.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0731         WA-NSO-00017409                                   WhatsApp log file (logs_2019-04-24_04_26_57.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0732         WA-NSO-00017410                                   WhatsApp log file (logs_2019-05-07_07_08_29.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                  Description                       Purpose           Sponsoring Witness(es)
   PTX-0733         WA-NSO-00017411                                   WhatsApp log file (logs_2019-05-08_22_26_18.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0734         WA-NSO-00017412                                   WhatsApp log file (logs_2019-04-30_17_32_40.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0735         WA-NSO-00017413                                   WhatsApp log file (logs_2019-05-01_04_41_41.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0736         WA-NSO-00017414                                   WhatsApp log file (logs_2019-05-01_06_09_18.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0737         WA-NSO-00017415                                   WhatsApp log file (logs_2019-05-04_06_46_19.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0738         WA-NSO-00017416                                   WhatsApp log file (logs_2019-05-07_03_02_10.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0739         WA-NSO-00017417                                   WhatsApp log file (logs_2019-04-29_00_04_12.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0740         WA-NSO-00017418                                   WhatsApp log file (logs_2019-05-09_10_06_56.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0741         WA-NSO-00017419                                   WhatsApp log file (logs_2019-04-23_03_14_50.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0742         WA-NSO-00017420                                   WhatsApp log file (logs_2019-05-01_06_31_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0743         WA-NSO-00017421                                   WhatsApp log file (logs_2019-04-19_05_37_48.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0744         WA-NSO-00017422                                   WhatsApp log file (logs_2019-04-30_21_55_28.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0745         WA-NSO-00017423                                   WhatsApp log file (logs_2019-05-01_04_31_42.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0746         WA-NSO-00017424                                   WhatsApp log file (logs_2019-04-21_09_48_40.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0747         WA-NSO-00017425                                   WhatsApp log file (logs_2019-04-29_06_42_59.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0748         WA-NSO-00017426                                   WhatsApp log file (logs_2019-05-08_02_50_34.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0749         WA-NSO-00017427                                   WhatsApp log file (logs_2019-05-04_14_46_11.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0750         WA-NSO-00017428                                   WhatsApp log file (logs_2019-04-30_16_34_40.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0751         WA-NSO-00017429                                   WhatsApp log file (logs_2019-05-02_02_53_38.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0752         WA-NSO-00017430                                   WhatsApp log file (logs_2019-04-24_00_25_21.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0753         WA-NSO-00017431                                   WhatsApp log file (logs_2019-04-30_11_08_25.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0754         WA-NSO-00017432                                   WhatsApp log file (logs_2019-04-30_16_21_28.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0755         WA-NSO-00017433                                   WhatsApp log file (logs_2019-04-26_16_45_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0756         WA-NSO-00017434                                   WhatsApp log file (logs_2019-05-08_22_36_18.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0757         WA-NSO-00017435                                   WhatsApp log file (logs_2019-05-02_00_25_58.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0758         WA-NSO-00017436                                   WhatsApp log file (logs_2019-05-04_14_52_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                  Description                       Purpose           Sponsoring Witness(es)
   PTX-0759         WA-NSO-00017437                                   WhatsApp log file (logs_2019-05-02_23_59_26.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0760         WA-NSO-00017438                                   WhatsApp log file (logs_2019-04-29_06_31_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0761         WA-NSO-00017439                                   WhatsApp log file (logs_2019-04-27_23_30_37.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0762         WA-NSO-00017440                                   WhatsApp log file (logs_2019-04-26_17_09_10.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0763         WA-NSO-00017441                                   WhatsApp log file (logs_2019-05-11_09_33_06.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0764         WA-NSO-00017442                                   WhatsApp log file (logs_2019-04-21_06_54_26.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0765         WA-NSO-00017443                                   WhatsApp log file (logs_2019-05-06_17_36_41.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0766         WA-NSO-00017444                                   WhatsApp log file (logs_2019-04-26_06_17_42.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0767         WA-NSO-00017445                                   WhatsApp log file (logs_2019-05-02_22_44_11.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0768         WA-NSO-00017446                                   WhatsApp log file (logs_2019-04-19_03_36_18.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0769         WA-NSO-00017447                                   WhatsApp log file (logs_2019-05-04_18_32_37.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0770         WA-NSO-00017448                                   WhatsApp log file (logs_2019-04-26_11_13_24.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0771         WA-NSO-00017449                                   WhatsApp log file (logs_2019-05-03_20_36_36.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0772         WA-NSO-00017450                                   WhatsApp log file (logs_2019-04-29_04_18_01.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0773         WA-NSO-00017451                                   WhatsApp log file (logs_2019-04-29_04_12_11.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0774         WA-NSO-00017452                                   WhatsApp log file (logs_2019-04-29_04_09_01.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0775         WA-NSO-00017453                                   WhatsApp log file (logs_2019-04-26_06_57_35.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0776         WA-NSO-00017454                                   WhatsApp log file (logs_2019-05-01_16_42_35.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0777         WA-NSO-00017455                                   WhatsApp log file (logs_2019-04-21_17_58_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0778         WA-NSO-00017456                                   WhatsApp log file (logs_2019-05-01_17_57_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0779         WA-NSO-00017457                                   WhatsApp log file (logs_2019-05-09_09_05_01.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0780         WA-NSO-00017458                                   WhatsApp log file (logs_2019-05-08_03_18_29.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0781         WA-NSO-00017459                                   WhatsApp log file (logs_2019-04-24_00_25_16.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0782         WA-NSO-00017460                                   WhatsApp log file (logs_2019-04-20_18_42_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0783         WA-NSO-00017461                                   WhatsApp log file (logs_2019-04-28_10_02_46.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0784         WA-NSO-00017462                                   WhatsApp log file (logs_2019-04-22_01_08_46.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                  Description                       Purpose           Sponsoring Witness(es)
   PTX-0785         WA-NSO-00017463                                   WhatsApp log file (logs_2019-04-24_20_57_18.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0786         WA-NSO-00017464                                   WhatsApp log file (logs_2019-04-22_01_29_52.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0787         WA-NSO-00017465                                   WhatsApp log file (logs_2019-04-26_05_12_14.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0788         WA-NSO-00017466                                   WhatsApp log file (logs_2019-04-28_00_25_57.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0789         WA-NSO-00017467                                   WhatsApp log file (logs_2019-05-03_20_12_32.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0790         WA-NSO-00017468                                   WhatsApp log file (logs_2019-04-19_05_43_58.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0791         WA-NSO-00017469                                   WhatsApp log file (logs_2019-05-07_10_03_44.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0792         WA-NSO-00017470                                   WhatsApp log file (logs_2019-04-22_00_55_58.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0793         WA-NSO-00017471                                   WhatsApp log file (logs_2019-05-01_16_48_25.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0794         WA-NSO-00017472                                   WhatsApp log file (logs_2019-05-02_21_17_55.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0795         WA-NSO-00017473                                   WhatsApp log file (logs_2019-04-21_18_03_46.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0796         WA-NSO-00017474                                   WhatsApp log file (logs_2019-05-01_19_47_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0797         WA-NSO-00017475                                   WhatsApp log file (logs_2019-04-23_01_54_22.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0798         WA-NSO-00017476                                   WhatsApp log file (logs_2019-04-23_07_22_45.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0799         WA-NSO-00017477                                   WhatsApp log file (logs_2019-05-07_07_10_17.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0800         WA-NSO-00017478                                   WhatsApp log file (logs_2019-04-30_19_12_57.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0801         WA-NSO-00017479                                   WhatsApp log file (logs_2019-05-06_10_22_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0802         WA-NSO-00017480                                   WhatsApp log file (logs_2019-05-07_04_22_54.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0803         WA-NSO-00017481                                   WhatsApp log file (logs_2019-05-02_05_54_47.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0804         WA-NSO-00017482                                   WhatsApp log file (logs_2019-05-05_08_01_15.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0805         WA-NSO-00017483                                   WhatsApp log file (logs_2019-05-07_23_49_59.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0806         WA-NSO-00017484                                   WhatsApp log file (logs_2019-05-02_00_53_31.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0807         WA-NSO-00017485                                   WhatsApp log file (logs_2019-05-02_02_23_55.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0808         WA-NSO-00017486                                   WhatsApp log file (logs_2019-04-26_23_49_47.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0809         WA-NSO-00017487                                   WhatsApp log file (logs_2019-05-01_21_03_51.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0810         WA-NSO-00017488                                   WhatsApp log file (logs_2019-05-06_09_43_23.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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   PTX-0811         WA-NSO-00017489                                   WhatsApp log file (logs_2019-05-08_00_50_53.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0812         WA-NSO-00017490                                   WhatsApp log file (logs_2019-05-06_09_09_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0813         WA-NSO-00017491                                   WhatsApp log file (logs_2019-05-06_07_57_33.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0814         WA-NSO-00017492                                   WhatsApp log file (logs_2019-05-04_08_40_40.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0815         WA-NSO-00017493                                   WhatsApp log file (logs_2019-05-06_22_38_33.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0816         WA-NSO-00017494                                   WhatsApp log file (logs_2019-05-08_01_15_32.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0817         WA-NSO-00017495                                   WhatsApp log file (logs_2019-05-06_21_02_28.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0818         WA-NSO-00017496                                   WhatsApp log file (logs_2019-05-06_23_07_31.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0819         WA-NSO-00017497                                   WhatsApp log file (logs_2019-04-26_17_23_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0820         WA-NSO-00017498                                   WhatsApp log file (logs_2019-05-07_05_13_08.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0821         WA-NSO-00017499                                   WhatsApp log file (logs_2019-04-30_19_19_40.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0822         WA-NSO-00017500                                   WhatsApp log file (logs_2019-05-02_06_01_21.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0823         WA-NSO-00017501                                   WhatsApp log file (logs_2019-05-06_10_02_33.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0824         WA-NSO-00017502                                   WhatsApp log file (logs_2019-05-06_21_50_59.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0825         WA-NSO-00017503                                   WhatsApp log file (logs_2019-05-09_09_19_34.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0826         WA-NSO-00017504                                   WhatsApp log file (logs_2019-05-01_00_22_29.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0827         WA-NSO-00017505                                   WhatsApp log file (logs_2019-05-06_23_32_00.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0828         WA-NSO-00017506                                   WhatsApp log file (logs_2019-05-01_00_16_27.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0829         WA-NSO-00017507                                   WhatsApp log file (logs_2019-05-07_23_46_08.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0830         WA-NSO-00017508                                   WhatsApp log file (logs_2019-04-24_01_37_00.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0831         WA-NSO-00017509                                   WhatsApp log file (logs_2019-05-02_00_30_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0832         WA-NSO-00017510                                   WhatsApp log file (logs_2019-05-02_01_02_09.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0833         WA-NSO-00017511                                   WhatsApp log file (logs_2019-04-25_09_33_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0834         WA-NSO-00017512                                   WhatsApp log file (logs_2019-05-08_01_30_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0835         WA-NSO-00017513                                   WhatsApp log file (logs_2019-05-02_00_38_20.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0836         WA-NSO-00017514                                   WhatsApp log file (logs_2019-05-07_04_51_06.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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   PTX-0837         WA-NSO-00017515                                   WhatsApp log file (logs_2019-04-25_09_40_11.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0838         WA-NSO-00017516                                   WhatsApp log file (logs_2019-05-06_20_50_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0839         WA-NSO-00017517                                   WhatsApp log file (logs_2019-05-02_01_31_50.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0840         WA-NSO-00017518                                   WhatsApp log file (logs_2019-05-05_08_37_28.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0841         WA-NSO-00017519                                   WhatsApp log file (logs_2019-04-28_09_33_53.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0842         WA-NSO-00017520                                   WhatsApp log file (logs_2019-05-05_08_50_36.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0843         WA-NSO-00017521                                   WhatsApp log file (logs_2019-05-08_23_41_39.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0844         WA-NSO-00017522                                   WhatsApp log file (logs_2019-05-06_07_23_27.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0845         WA-NSO-00017523                                   WhatsApp log file (logs_2019-04-23_04_56_16.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0846         WA-NSO-00017524                                   WhatsApp log file (logs_2019-05-08_18_53_04.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0847         WA-NSO-00017525                                   WhatsApp log file (logs_2019-04-28_13_56_45.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0848         WA-NSO-00017526                                   WhatsApp log file (logs_2019-04-30_05_01_36.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0849         WA-NSO-00017527                                   WhatsApp log file (logs_2019-04-27_21_41_46.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0850         WA-NSO-00017528                                   WhatsApp log file (logs_2019-05-01_17_32_19.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0851         WA-NSO-00017529                                   WhatsApp log file (logs_2019-05-01_22_27_49.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0852         WA-NSO-00017530                                   WhatsApp log file (logs_2019-04-29_05_17_09.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0853         WA-NSO-00017531                                   WhatsApp log file (logs_2019-04-25_07_05_21.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0854         WA-NSO-00017532                                   WhatsApp log file (logs_2019-04-24_00_43_55.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0855         WA-NSO-00017533                                   WhatsApp log file (logs_2019-04-21_01_19_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0856         WA-NSO-00017534                                   WhatsApp log file (logs_2019-04-24_23_41_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0857         WA-NSO-00017535                                   WhatsApp log file (logs_2019-04-30_05_07_29.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0858         WA-NSO-00017536                                   WhatsApp log file (logs_2019-04-19_02_39_32.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0859         WA-NSO-00017537                                   WhatsApp log file (logs_2019-04-26_04_56_42.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0860         WA-NSO-00017538                                   WhatsApp log file (logs_2019-04-29_04_41_36.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0861         WA-NSO-00017539                                   WhatsApp log file (logs_2019-04-29_06_10_34.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0862         WA-NSO-00017540                                   WhatsApp log file (logs_2019-05-05_04_27_22.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                  Description                       Purpose           Sponsoring Witness(es)
   PTX-0863         WA-NSO-00017541                                   WhatsApp log file (logs_2019-04-27_21_15_50.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0864         WA-NSO-00017542                                   WhatsApp log file (logs_2019-05-07_09_32_42.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0865         WA-NSO-00017543                                   WhatsApp log file (logs_2019-04-24_00_35_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0866         WA-NSO-00017544                                   WhatsApp log file (logs_2019-05-01_22_48_40.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0867         WA-NSO-00017545                                   WhatsApp log file (logs_2019-05-02_02_40_44.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0868         WA-NSO-00017546                                   WhatsApp log file (logs_2019-04-25_05_30_56.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0869         WA-NSO-00017547                                   WhatsApp log file (logs_2019-04-23_04_50_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0870         WA-NSO-00017548                                   WhatsApp log file (logs_2019-05-08_19_12_01.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0871         WA-NSO-00017549                                   WhatsApp log file (logs_2019-05-05_04_33_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0872         WA-NSO-00017550                                   WhatsApp log file (logs_2019-05-01_08_12_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0873         WA-NSO-00017551                                   WhatsApp log file (logs_2019-05-01_09_08_22.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0874         WA-NSO-00017552                                   WhatsApp log file (logs_2019-04-23_01_24_36.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0875         WA-NSO-00017553                                   WhatsApp log file (logs_2019-04-24_23_40_28.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0876         WA-NSO-00017554                                   WhatsApp log file (logs_2019-05-09_02_56_16.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0877         WA-NSO-00017555                                   WhatsApp log file (logs_2019-05-03_19_56_54.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0878         WA-NSO-00017556                                   WhatsApp log file (logs_2019-05-09_09_41_44.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0879         WA-NSO-00017557                                   WhatsApp log file (logs_2019-04-19_03_56_35.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0880         WA-NSO-00017558                                   WhatsApp log file (logs_2019-04-22_18_15_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0881         WA-NSO-00017559                                   WhatsApp log file (logs_2019-05-04_01_42_57.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0882         WA-NSO-00017560                                   WhatsApp log file (logs_2019-04-30_07_18_30.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0883         WA-NSO-00017561                                   WhatsApp log file (logs_2019-05-09_09_59_35.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0884         WA-NSO-00017562                                   WhatsApp log file (logs_2019-04-22_18_27_03.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0885         WA-NSO-00017563                                   WhatsApp log file (logs_2019-05-03_01_26_07.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0886         WA-NSO-00017564                                   WhatsApp log file (logs_2019-04-20_18_05_53.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0887         WA-NSO-00017565                                   WhatsApp log file (logs_2019-05-02_05_42_11.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages
   PTX-0888         WA-NSO-00017566                                   WhatsApp log file (logs_2019-04-22_01_29_10.txt).      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                             Punitive Damages




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   PTX-0889         WA-NSO-00017567                                   WhatsApp log file (logs_2019-04-25_21_11_35.txt).                      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                             Punitive Damages
   PTX-0890         WA-NSO-00017568                                   WhatsApp log file (logs_2019-05-02_03_26_51.txt).                      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                             Punitive Damages
   PTX-0891         WA-NSO-00017569                                   WhatsApp log file (logs_2019-04-28_23_26_23.txt).                      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                             Punitive Damages
   PTX-0892         WA-NSO-00017570                                   WhatsApp log file (logs_2019-05-09_03_15_00.txt).                      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                             Punitive Damages
   PTX-0893         WA-NSO-00017571                                   WhatsApp log file (logs_2019-04-21_04_12_52.txt).                      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                             Punitive Damages
   PTX-0894         WA-NSO-00017572                                   WhatsApp log file (logs_2019-04-25_21_05_17.txt).                      Compensatory Damages;   Gheorghe, Claudiu
                                                                                                                                             Punitive Damages
   PTX-0895         WA-NSO-00192813                                   Document titled "[chatd/chatd_c2s,mod_call] D9650871 Add check for     Punitive Damages        Gheorghe, Claudiu
                                                                      stanzas with voip_settings element."
   PTX-0896         WA-NSO-00195277                                   Pegasus computer code file (Private Key).                              Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                     Youssef, David.
   PTX-0897         WA-NSO-00195272                                   Pegasus computer code file (utils.backup.py).                          Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                     Youssef, David.
   PTX-0898         WA-NSO-00195273                                   Pegasus computer code file (utils.py).                                 Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                     Youssef, David.
   PTX-0899         WA-NSO-00195274                                   Pegasus computer code file (wa.proto).                                 Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                     Youssef, David.
   PTX-0900         WA-NSO-00195275                                   Pegasus computer code file (wa_pb2.py).                                Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                     Youssef, David.
   PTX-0901         WA-NSO-00195278                                   Pegasus computer code file (wis.log).                                  Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                     Youssef, David.
   PTX-0902         WA-NSO-00195279                                   Pegasus computer code file (wis.log.2019-01-17).                       Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                     Youssef, David.
   PTX-0903         WA-NSO-00195280                                   Pegasus computer code file (wis.log.2019-01-24).                       Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                     Youssef, David.
   PTX-0904         WA-NSO-00195282                                   Pegasus computer code file (caller_config.xml).                        Punitive Damages        Gheorghe, Claudiu;
                                                                                                                                                                     Robinson, Drew;
                                                                                                                                                                     Gazneli, Tamir;
                                                                                                                                                                     Youssef, David.




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Trial Exhibit No.      Bates No.             Deposition Exhibit No.                                    Description                                              Purpose              Sponsoring Witness(es)
   PTX-0905         WA-NSO-00195284                                   Pegasus computer code file (dal.py).                                            Punitive Damages         Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0906         WA-NSO-00195288                                   Pegasus computer code file (relay.ip.py).                                       Punitive Damages         Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0907         WA-NSO-00195289                                   Pegasus computer code file (requirements.txt).                                  Punitive Damages         Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0908         WA-NSO-00195291                                   Pegasus computer code file (wis.service).                                       Punitive Damages         Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Gazneli, Tamir;
                                                                                                                                                                               Youssef, David.
   PTX-0909                                                           Defendants' Responses and Objections to Plaintiffs' First Set of Requests for   Background;              Eshkar, Ramon;
                                                                      Admission dated Apr 17, 2023.                                                   Compensatory Damages;    Gazneli, Tamir;
                                                                                                                                                      Punitive Damages         Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0910                                                           Defendants' Responses and Objections to Plaintiffs' Second Requests for         Background;              Eshkar, Ramon;
                                                                      Admissions dated Nov 22, 2023.                                                  Compensatory Damages;    Gazneli, Tamir;
                                                                                                                                                      Punitive Damages         Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0911                                                           Defendants' Responses and Objections to Plaintiffs' Third Set of Requests for Background;                Eshkar, Ramon;
                                                                      Admission (Nos. 59-79) dated Sep 10, 2024.                                    Compensatory Damages;      Gazneli, Tamir;
                                                                                                                                                    Punitive Damages           Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0912                                                           Defendants' Objections and Responses to Plaintiffs' First Set of Interrogatories Background;             Eshkar, Ramon;
                                                                      dated May 10, 2023.                                                              Compensatory Damages;   Gazneli, Tamir;
                                                                                                                                                       Punitive Damages        Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0913                                                           Defendants' Objections and Responses to Plaintiffs' Second Set of               Background;              Eshkar, Ramon;
                                                                      Interrogatories dated Oct 30, 2023.                                             Compensatory Damages;    Gazneli, Tamir;
                                                                                                                                                      Punitive Damages         Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0914                                                           Defendants' Objections and Responses to Plaintiffs' Third Set of                Background;              Eshkar, Ramon;
                                                                      Interrogatories dated Sep 16, 2024.                                             Compensatory Damages;    Gazneli, Tamir;
                                                                                                                                                      Punitive Damages         Gil, Sarit Bizinsky;
                                                                                                                                                                               Shohat, Yaron
   PTX-0915                                                           Curriculum Vitae of Anthony Vance                                               Background               Vance, Anthony
   PTX-0916                                                           Curriculum Vitae of Dana Trexler                                                Background               Trexler, Dana
   PTX-0917                                                           Curriculum Vitae of David Youssef                                               Background               Youssef, David
   PTX-0918                                    Gheorghe Ex. 1164      Declaration of Claudiu Gheorghe in Support of Plaintiffs' Opposition to         Compensatory Damages     Gheorghe, Claudiu
                                                                      Defendants' Motion to Dismiss (Dkt. No. 55-2) dated Apr 23, 2020.
   PTX-0919                                                           Plaintiffs’ Amended Initial Disclosures dated Nov 30, 2023.                     Compensatory Damages     Gheorghe, Claudiu;
                                                                                                                                                                               Robinson, Drew;
                                                                                                                                                                               Woog, Carl
   PTX-0920         WA-NSO-00014804                                   Josh Shaner's Objections to Plaintiffs' Subpoena for Documents to Non-Party Punitive Damages             Shaner, Joshua
                                                                      Josh Shaner dated Jun 25, 2020.
   PTX-0921         WA-NSO-00100634                                   Responses and Objections to Amended Subpoena to Josh Shaner dated Oct       Punitive Damages             Shaner, Joshua
                                                                      24, 2019.




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   PTX-0922            WA-NSO-00100651                                   Amended Objections and Responses to Revised Subpoena for Documents to        Punitive Damages        Shaner, Joshua
                                                                         Josh Shaner dated Oct 24, 2019.
   PTX-0923            WA-NSO-00115966             Woog Ex. 1079         Workplace Chat messages between C. Woog and D. Robinson dated May 5,         Compensatory Damages;   Woog, Carl;
                                                                         2019.                                                                        Punitive Damages        Robinson, Drew
   PTX-0924                                        Vance Ex. 1617        White House Executive Order regarding, "Prohibition on Use by the United     Compensatory Damages;   Vance, Anthony
                                                                         States Government of Commercial Spyware that Poses Risks to National         Punitive Damages
                                                                         Security," https://www.whitehouse.gov/briefing-room/presidential-
                                                                         actions/2023/03/27/executive-order-on-prohibition-on-use-by-the-united-
                                                                         states-government-of-commercial-spyware-that-poses-risks-to-national-
                                                                         security/ dated Mar 27, 2023.
   PTX-0925         NSO_WHATSAPP_00001241         McGraw Ex. 2101        NSO internal Confluence record titled, "Pegasus 3 Pony (WhatsApp Agent)      Punitive Damages        Eshkar, Ramon;
                                                                         Support Specification - DRAFT" dated Apr 27, 2020.                                                   Gazneli, Tamir;
                                                                                                                                                                              Gil, Sarit Bizinsky;
                                                                                                                                                                              Shohat, Yaron
   PTX-0926                                       McGraw Ex. 2102        Publication by the National Institute of Standards and Technology (NIST),  Compensatory Damages      Vance, Anthony;
                                                                         U.S. Department of Commerce, titled "Special Publication 800-61: Computer                            McGraw, Terrence
                                                                         Security Incident Handling Guide" http://dx.doi.org/10.6028/NIST.SP.800-
                                                                         61r2 dated Aug, 2012.
   PTX-0927                                       McGraw Ex. 2102        Draft publication by the National Institute of Standards and Technology    Compensatory Damages      Vance, Anthony;
                                                                         (NIST), U.S. Department of Commerce, titled "Special Publication 800-218,                            McGraw, Terrence
                                                                         Secure Software Development Framework (SSDF) Version 1.1" dated Feb,
                                                                         2022.
   PTX-0928                                                              Certification of Domestic Records of Regularly Conducted Activity Pursuant Compensatory Damages      Business Records Certification
                                                                         to Federal Rule of Evidence 902(11) for Isma Chowdhury dated Mar 7, 2025.

   PTX-0929                                                              Certification of Domestic Records of Regularly Conducted Activity Pursuant   Compensatory Damages    Business Records Certification
                                                                         to Federal Rule of Evidence 902(11) for Sonja Clark dated Mar 7, 2025.

   PTX-0930            WA-NSO-00191340            Robinson Ex. 1206      Meta presentation by D. Robinson titled, "NSODays" dated 2019.               Punitive Damages        Robinson, Drew
   PTX-0931            WA-NSO-00115998            Robinson Ex. 1508      Workplace Chat messages between D. Robinson and C. Padua dated May 13,       Compensatory Damages;   Robinson, Drew
                                                                         2019.                                                                        Punitive Damages
   PTX-0932            WA-NSO-00115955            Robinson Ex. 1502      Workplace Chat messages between D. Robinson and B. Tiszka dated May 2,       Compensatory Damages;   Robinson, Drew
                                                                         2019.                                                                        Punitive Damages
   PTX-0933            WA-NSO-00115961            Robinson Ex. 1503      Workplace Chat messages between D. Robinson and C. Padua dated May 3,        Compensatory Damages;   Robinson, Drew
                                                                         2019.                                                                        Punitive Damages
   PTX-0934            WA-NSO-00115239            Gheorghe Ex. 1106      Workplace Chat messages between WhatsApp engineers dated May 3, 2019.        Compensatory Damages;   Gheorghe, Claudiu;
                                                   Palau Ex. 1106                                                                                     Punitive Damages        Robinson, Drew
   PTX-0935            WA-NSO-00115203             Wang Ex. 1108         Workplace Chat messages between WhatsApp engineers dated May 2, 2019.        Compensatory Damages;   Gheorghe, Claudiu;
                                                                                                                                                      Punitive Damages        Robinson, Drew




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